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AO 91 (Rev. 11/11). Criminal Complaint

UNITED STATES DISTRICT COURT

SEALED

Southern District of Indiana

 

United States of America )
Vv. )
MAHDE DANNON (-01), and ) Case No.
MOYAD DANNON (-02), 1:19-mj-0514
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 9, 2018, through May 15, 2019 in the county of Hamilton and Marion in the

 

 

Southern District of indiana , the defendant(s) violated:

Code Section Offense Description

Count 1: 18 U.S.C. § 922(a)(1)(A) Engaging in business of manufacturing / selling firearms without a license;

Count 2: 18 U.S.C. § 922(d) Sell and dispose of firearms and ammunition to a prohibited person;
Count 3: 18 U.S.C. § 922(j) Receiving, possessing, and selling stolen firearms and ammunition;
Count 4: 18 U.S.C. § 922(n) Receipt and transport of firearms by a person under indictment;
Count 5: 26 U.S.C. § 5861 Manufacture, possess, and transfer an unregistered firearm;

Count 6: 18 U.S.C. § 371 Conspiracy to violate the laws of the United States.

This criminal complaint is based on these facts:

See attached Affidavit.

iM Continued on the attached sheet.

Zo Ag

Complainant's 3igr Ss Renae le

Special Agent Jon C. y FBI

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date: 05/15/2019 Td

Jude Ss P sioatr
City and state: indianapolis, Indiana Hon. Debra McVicker-Lyneh, US. Magistrate Judge

 

Priniteduame and title

 
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AFFIDAVIT
Your Affiant, Jon C. Graf, being duly sworn, deposes and states:
Introduction

1. Iam a Special Agent with the Federal Bureau of Investigation (FBI), and have been
so employed since January of 2003. I am a “federal law enforcement officer” within the meaning
of Federal Rules of Criminal Procedure 41(a) and 41(a)(2)(C). During the course of my career
with the FBI, I have investigated numerous criminal violations, among them violations of Title 18,
United States Code, Sections 922 (firearms); 2314 (interstate transportation of stolen property);
and 371 (conspiracy), as well as violations of Title 26 of the United States Code (Internal Revenue
Code) related to machine guns, destructive devices, and certain other firearms.

2. I have conducted and participated in surveillance, the execution of search
warrants, debriefings of informants, the reviews of recorded conversations, analyzed phone
records and conducted numerous other investigative activities throughout the course of my FBI
career. Through my training, education, and experiences over the past sixteen years, I have
become familiar with the manner in which those engaged in unlawful acts commit crimes,
including, but not limited to, the modus operandi used by these individuals for committing
crimes and the use of computers, laptops, tablet computers, cellular telephones, and other
electronic devices capable of accessing the Internet, as well as applications and tools installed on
such electronic devices, in furtherance of those criminal offenses.

3. The FBI and other law enforcement agencies are conducting a criminal
investigation of Mahde Dannon (“Mahde”), Moyad Dannon (“Moyad”), and others known and
unknown (collectively “Target Subjects”), in connection with numerous violations of federal

law, including Title 18, United States Code, Sections 922(a)(1)(A), 922(d), 922), 922(n), 2314,

 
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and 371, as well as Title 26, United States Code, Section 5861 (collectively “Target Offenses”).
Through the FBI’s investigation, Your Affiant has developed probable cause to believe that
Target Subjects have already violated several of the Target Offenses, and that Target Subjects
are planning to violate additional Target Offenses in the future.

4. The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained through numerous other sources, including: other FBI
Special Agents; FBI Task Force Officers (TFOs); FBI technical experts and language specialists;
Hobart (Indiana) Police Department (HPD) detectives; Fishers (Indiana) Police Department
(FPD) detectives, officers, and technical experts; other law enforcement investigators;
cooperating individuals; confidential individuals; investigative reports; summaries of audio
and/or video recordings made during the course of this investigation; and records obtained
during this investigation. As this Affidavit is submitted only to establish probable cause for the
requested warrant, it does not purport to set forth all of my knowledge or all facts known to the
FBI about this matter. Where actions, conversations, and statements of others are related, they
are related in substance and in part, except where otherwise indicated.

| 5. As set forth herein, this Affidavit summarizes certain recorded communications
that occurred, in part, in the Arabic language. While translators have attempted to translate the
substance of those portions of the conversations, the translations of referenced foreign language
communications are preliminary, not final. Similarly, certain quotations referenced herein are
taken from preliminary, not final, transcripts of recorded conversations that transpired in English.
References to all recorded conversations set forth in this Affidavit do not reflect the entirety of
those conversations.

6. In addition, this Affidavit includes summaries, quotations of, and references to

 
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communications made through social media and messaging applications. These social media and
messaging communications frequently contain grammatical errors, spelling errors, abbreviations,
and, at times, words or phrases in foreign languages, especially Arabic. Bracketed words and
phrases have been inserted into the communications to provide either: (a) my understanding of
‘such communications based on my training and experience, and the context of the
communications; and/or (b) the preliminary English language translations done by FBI personnel
familiar with the foreign language words and phrases used.

7. I submit this Affidavit in support of a Criminal Complaint seeking arrest warrants
for Mahde Dannon and Moyad Dannon in connection with numerous violations of federal law,
including the certain of the Target Offenses outlined above.

Applicable Statutes — The “Target Offenses”

8. Through my training and experience I am aware that Title 18, United States Code,
Section 922(a)(1)(A) makes it unlawful for any person, other than a licensed importer, licensed
manufacturer, or licensed dealer, to engage in the business of importing, manufacturing, or
dealing in firearms, or in the course of such business to ship, transport, or receive any firearm in
interstate or foreign commerce.

9. Lam also aware that Title 18, United States Code, Section 922(d) makes it
unlawful for any person to sell or otherwise dispose of any firearm or ammunition to any person
knowing or having reasonable cause to believe that such person is under indictment for, or has
been convicted of, a crime punishable by imprisonment for a term exceeding one (1) year.

10. Lam also aware that Title 18, United States Code, Section 922(j), makes it
unlawful for any person to receive, possess, barter, sell, or dispose of any stolen firearm or

ammunition which has been shipped or transported in interstate or foreign commerce, either

 
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before or after it was stolen, knowing or having reasonable cause to believe that the firearm or
ammunition was stolen.

11. Iam also aware that Title 18, United States Code, Section 922(n) makes it
unlawful for any person who is under indictment or information for a crime punishable by
imprisonment for a term exceeding one (1) year to ship or transport in interstate or foreign
commerce any firearm or ammunition, or to receive any firearm or ammunition which has been
shipped or transported in interstate or foreign commerce.

12. Lam also aware that Title 18, United States Code, Section 2314 makes it unlawful
for any person to transport, transmit, or transfer in interstate or foreign commerce any goods, .
wares, merchandise, securities or money, of the value of $5,000 or more, knowing the same to
have been stolen, converted or taken by fraud.

13. Further, I am aware that Title 26, United States Code, Section 5861 makes it
unlawful to manufacture, receive, possess, and/or transfer certain firearms, including machine
guns, without registering such firearms in the National Firearms Registration and Transfer
Record.

14. Finally, | am aware that Title 18, United States Code, Section 371 makes it
unlawful for two or more people to conspire to violate the laws of the United States.

Probable Cause

15. | OnDecember 2, 2015, 14 people were killed and 22 others were injured in a mass
shooting at the Inland Regional Center in San Bernardino, California. Many of the victims of that
shooting were attending an office holiday party.

16. | Subsequent to the events in San Bernardino, Mohdkear Dannon (“Mohdkear”), a

resident of Fishers, Indiana, allegedly told at least one co-worker at Business D in Indianapolis

 
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that he was going to bring an AK-47 to the company’s Christmas party. At the time he allegedly
made that statement, Mohdkear was employed by Business D. Mohdkear’s statement was
construed as a threat and was reported to the FBI, and the FBI opened an investigation.

17. In the course of investigating Mohdkear’s threat, Your Affiant learned that
Mohdkear had two sons named Mahde Dannon (“Mahde”) and Moyad Dannon (“Moyad”).
During an investigative review of Mahde’s and Moyad’s publicly-accessible social media
profiles, FBI investigators observed videos posted on Facebook which appeared to show Mahde
and Moyad shooting fully-automatic rifles at an indoor shooting range. Investigators also
observed the following social media postings:

a. On or around October 14, 2015, a photo was posted on Moyad’s Facebook
page that depicts Moyad holding an AK-47-style rifle in one hand and a knife in the

other. A screen capture of this Facebook photo is included below as Exhibit 1 to this
Affidavit, and is incorporated herein by reference.

Exhibit 1

 

 

 

b. On or around December 15, 2015, a photo was posted to Mahde’s
Instagram account (mahdi_dannon97) depicting Mahde and Moyad holding firearms. In
the comments next to the photo, Mahde wrote that he and Moyad were “just trying to get
a higher rank on that watch list.” A screen capture of this Instagram photo is included
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below as Exhibit 2 to this Affidavit, and is incorporated herein by reference.
Exhibit 2

 

mahdi_dannon9? Don't make us come aet

 

 

 

18. On or around December 18, 2015, in conjunction with the investigation into the
workplace violence threat made by Mohdkear, the Fishers (Indiana) Police Department (FPD)
interviewed an individual, hereinafter Individual 1. whose identity is known to the FBI and who
has personal and ongoing knowledge of the Dannon family. During the interview, Individual 1
described Moyad as “a stupid kid” who had begun to research ISIS! and other terrorist groups
online. Individual 1 opined that Moyad is computer savvy and that he uses his personal computer
to conduct his personal communications with akin subjects who may share similar beliefs or
interests in ISIS or other terror groups.

19. Individual 1 stated that he had no specific details regarding Moyad’s
communications with persons who shared Moyad’s beliefs and interest in ISIS or other terror

groups. However, Individual 1 stated that the above-referenced Facebook and Instagram

 

| ISIS is an alias for the Foreign Terrorist Organization (FTO) the Islamic State of Iraq and the Levant (“ISIL”). ISIS
is a common abbreviation for The Islamic State of Iraq and al-Sham or The Islamic State of Iraq and Syria.
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photographs of Moyad were common with his stupidity and desire to radicalize. Individual 1
further stated that Moyad had previously been in fights with individuals over religion and that
Individual 1 became more concerned about Moyad’s behavior after Moyad walked out of prayer
services at a local mosque when the imam began to speak negatively about ISIS. Individual 1
stated he did not believe that Mohdkear would counsel Moyad away from radicalization and that
Mohdkear has done nothing to control Moyad’s temper or problems in school.

20. In approximately late February of 2016, Your Affiant interviewed Mohdkear
about the alleged threat that he made to Business D’s 2015 Christmas party. Mohdkear denied
that he said that he would bring a gun to the company’s Christmas party, but admitted that he had
argued with one of his co-workers at Business D when he was employed there.

21. During the course of the interview, Mohdkear stated that he owned two handguns,
a .380 caliber and a 9 millimeter, that he kept in his home in Fishers.

22. When asked about the Facebook videos of Mahde and Moyad shooting fully-
automatic rifles, Mohdkear explained that he sometimes takes Mahde and Moyad to a local
shooting range to shoot “for fun.” The FBI subsequently confirmed that the fully-automatic rifles
shown in the Facebook videos were rented and shot at a local shooting range.

23. | Whenasked about the Instagram photograph of Mahde and Moyad holding an
AK-47-style rifle and handgun, respectively, Mohdkear explained that both Mahde and Moyad
had AK-47-style BB guns, but that they did not own firearms. Mohdkear stated he did not
recognize the handgun that Moyad was holding in the Instagram picture.

24. On September 7, 2016, Mahde Dannon was arrested by FPD for criminal mischief
in connection with a road rage incident in Hamilton County, Indiana.

25. On March 14, 2017, Mahde entered into a twelve (12) month pre-trial diversion
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agreement with the Hamilton County (Indiana) Prosecutor’s Office. The terms of the agreement
required Mahde to obey all laws and not be arrested during the term of the agreement, and to
report any contact with law enforcement within twenty-four (24) hours.

26. In or around late November or early December 2017, Mahde was arrested by the
Hobart (Indiana) Police Department (HPD) in connection with a felony theft case. Those charges
stemmed from allegations that Mahde stole jewelry from his employer, Helzberg Diamonds
(“Helzberg”), in Hobart, Indiana, where Mahde had been working since around October 2017.

27. Based on the information received during the course of this investigation, it
appears that Mahde did not report his arrest by HPD to the Hamilton County Prosecutor’s Office
as was required by the terms of his pre-trial diversion agreement.

28. Inor around February of 2018, Your Affiant became aware of Mahde’s arrest by
HPD and subsequently obtained relevant case-related documents, including an incident report,
probable cause affidavit, and felony information. According to a probable cause affidavit filed in
Lake County Superior Court on December 5, 2017, Mahde was interviewed by HPD incident to
his arrest in the theft case, and admitted to stealing at least twenty-five (25) pieces of jewelry
from Helzberg with a total value of $42,110. Mahde stated that he had no idea why he stole the
jewelry. Helzberg reported that the total loss to its business resulting from Mahde’s theft was
$58,229. Of the twenty-five (25) pieces of jewelry stolen by Mahde, only five (5) pieces were
recovered.”

29, Asa result of the HPD investigation, on December 5, 2017, Mahde was charged

by information with one count of felony theft and two (2) counts of misdemeanor conversion,

 

2 See Lake County Superior Court Cause No. 45G04-1712-F6-000280.
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and a warrant was issued for his arrest.

30. On March 21, 2018, Mahde was stopped by FPD for a traffic violation. During
the traffic stop, Mahde was taken into custody by FPD on the outstanding felony theft warrant
out of Lake County, and transported to the Hamilton County (Indiana) Jail.

31. | While Mahde’s vehicle was being processed by FPD, Mahde was placed in the
back of an FPD patrol vehicle. While in the FPD vehicle, and during his transport to the
Hamilton County Jail, Mahde told an FPD officer that he had been "gifted" a Springfield XD
9mm handgun by his father, Mohdkear. Mahde also told the FPD officer that he recently bought
an AR-15 and that he frequently goes to Business A, a firearms shooting range located in the
Southern District of Indiana, to shoot.

32. On March 22, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear.? During the call Mohdkear and Mahde discussed Mahde’s phone that was seized in
connection with his March 21, 2018 arrest by FPD. Mohdkear asked Mahde for Mahde’s email
address so that Mohdkear could use the “Find My iPhone” app. When Mahde provided
Mohdkear with his email address and Apple ID password, Mohdkear stated he was going to
delete Mahde’s phone, and Mahde agreed. This conversation between Mohdkear and Mahde was
in Arabic.*

33. On March 26, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. During that call Mohdkear told Mahde that a search warrant was issued for Mahde’s

phone and it was being held as evidence. Mahde stated that he is going to reset his phone and

 

3 All “jail calls” referenced in this Affidavit were made using an inmate phone system, which alerts users to the fact
that all-calls are subject to monitoring and recording.

4 The jail calls that Mahde made from the Hamilton County Jail were conducted primarily in Arabic. Most of these
conversations were between Mahde and Mohdkear, though there were some conversations between Mahde and
Moyad. All of these recorded jail calls were translated and summarized by an FBI Arabic Language Specialist.

 
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delete everything from it once he got out of jail. Mohdkear mentioned that one of Mahde’s
younger brothers was asking for Mahde’s phone PIN so that he (the younger brother) could
delete the phone for Mahde. Mahde replied that he wanted to delete the phone himself when he
got out of jail. |

34. | On March 27, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. During the call, Mohdkear told Mahde that Moyad was coming back on Friday night
(March 30, 2018) and that Moyad had been calling Mohdkear and asking about Mahde every
day.> Mohdkear said Moyad wanted to know if Mahde ever took pictures of Moyad’s room,° to
which Mahde replied “no.” Mohdkear also asked Mahde if there were any pictures of them
(Mahde and Moyad) holding anything,’ to which Mahde replied “no.”

35. Later on March 27, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. Mahde told Mohdkear he was expecting something in the mail and asked Mohdkear
if an envelope arrived for Mahde. Mohdkear says that an envelope did arrive and Mahde tells
Mohdkear to hide it and that he (Mahde) does not want to say the name of it. Mohdkear reminds
Mahde not to say anything on the phone, stating says that he (Mohdkear) knows, Mahde knows,
and that’s the end of it.

36. | On March 29, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. In an apparent reference to the phone that was seized by FPD, Mohdkear tells Mahde

that Moyad wanted to know if Mahde took pictures of certain things. Mahde replied that there

 

5 The FBI subsequently learned that Moyad had departed the United States for Amman, J ordan, on or around March
4, 2018. The FBI has determined that the Dannon family has relatives who reside in Jordan.

6 The FBI assesses that Moyad is asking whether or not Mahde ever took pictures of Moyad’s room using Mahde’s
phone that was seized by FPD.

7 The FBI assesses that Mohdkear is referring to firearms.

 
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was nothing on the phone [for Moyad to be concerned about].

37. On March 30, 2018, Moyad flew from Amman, Jordan, to Chicago O’ Hare
International Airport (ORD). U.S. Customs and Border Protection (CBP) officers conducted a
secondary inspection of Moyad at ORD, to include an interview, baggage and pocket litter
examination, and review of his Apple iPhone.

38. During the course of the secondary inspection, CBP officers observed a
photograph on Moyad’s phone depicting Moyad holding what appeared to be an AR-15-type
rifle. When CBP officers asked Moyad about this picture, Moyad replied that he owns an "AR-
15" rifle and that this is the only weapon he owns. Moyad stated he believed the brand was
"DPMS" and he bought the gun to have fun at the range. Moyad further stated that he goes to
shoot his rifle at the range every month, that he goes to gun ranges with friends, his father, and
his brother Mahde, and that the rifle is kept at Moyad’s home in Fishers, Indiana. Moyad stated

he was not sure if his father owned any weapons. A copy of the photograph observed by CBP

 
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officers on March 30, 2018, is attached below as Exhibit 3 and incorporated herein by reference.

Exhibit 3

211 AM

December 71, 2017

 

39. During CBP’s March 30, 2018, secondary inspection of Moyad at ORD. CBP
officers also observed in Moyad’s wallet a receipt for the June 28, 2017 purchase of an AR-15
rifle from Business B, a federally licensed firearms dealer whose corporate headquarters is
located outside of the Southern District of Indiana, and multiple receipts from gun ranges.

40, | On March 30, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. During that call, Mohdkear told Mahde that he was worried about Moyad and
wondering if “they”® are giving him a hard time. Mohdkear is concerned that Moyad might have
things on his phone, but Mahde cautions Mohdkear not to discuss the matter over the phone.

Mohdkear wishes that Moyad had taken a different phone with him, but Mahde says that Moyad

 

§ The FBI assesses that Mohdkear is concerned about how Moyad is being treated at the airport by CBP upon
Moyad’s return to the United States from Jordan.
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knows what he is doing and will delete everything before he arrives. ‘

41. On March 30, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. Mohdkear told Mahde he did not want Mahde talking to Moyad on the phone because
Mahde would want to know the details of what happened to Moyad [at the airport]. Mohdkear
noted that Moyad is rude and wondered if Moyad was rude to the police or airport security.
Mohdkear told Mahde he did not want to discuss details but it didn’t help that Moyad had a
receipt for the thing that they bought.’

42. On April 1, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. Mahde asked Mohdkear what Moyad did in Jordan, and Mohdkear stated that Moyad
showed “them” that he is a “cheap ass,” as he paid for rent and only spent about 300 Dinars the
entire time that he was in Jordan. On hearing this, Mahde became upset that Moyad would lie
about not having money while in Jordan. Mohdkear expressed to Mahde that he was worried
about Moyad and especially worried “when you know what.” Mahde replied that Moyad is mean
and does not know how to deal with people.

43, Later on April 1, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. During the call Mohdkear reminded Mahde about the diversion agreement Mahde
had signed in his previous Hamilton County criminal mischief case. Mohdkear tells Mahde that
because Mahde violated the terms of the diversion agreement, his case will most likely be sent
back to court.! |

44. On or around April 3, 2018, the FBI obtained records from Business A associated

with Mohdkear, Moyad, and Mahde. Business A’s records showed that Mohdkear rented range

 

9 Based upon the March 30, 2018 secondary inspection of Moyad by CBP at ORD, the FBI assesses that Mohdkear
is referring to the Business B receipt for the AR-15-type rifle that was observed in Moyad’s wallet.

10 See paragraphs 24-27 of this Affidavit for details of and facts relevant to Mahde’s pre-trial diversion agreement
with the Hamilton County (Indiana) Prosecutor’s Office.
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time on August 9, 2017, and that Mahde rented range time on June 26, 2017. The records for
Moyad showed that he rented range time on the following dates: (1) October 26, 2016; (2)
October 2, 2017; (3) October 8, 2017; (4) December 26, 2017; and (5) February 25, 2018.

45. — Onor around April 4, 2018, the FBI received a copy of the ATF Form 4473 that
was completed by Mahde on June 28, 2017, in connection with his purchase of a DPMS AR-15
rifle from Business B. On this ATF Form 4473, Mahde certified that he was the actual
transferee/buyer of the DPMS AR-15 rifle; however, on March 30, 2018, Moyad told CBP
officers that he (Moyad) was the true owner of that firearm.

46. On April 4, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. After answering the call, Mohdkear gave the phone to Moyad, who then conversed
with Mahde. Moyad-asked Mahde if there was anything on his phone, to which Mahde replied
that there is nothing. Moyad then asked Mahde if Mahde knew what Moyad was talking about,
and Mahde confirmed that he knew what Moyad was referring to, and repeated that there was
nothing on his phone.

47, On April 5, 2018, Mahde placed a call from the Hamilton County Jail to
Mohdkear. Mahde asked to speak with Moyad. Mohdkear reminded Mahde not to be on the
phone too long because the calls are expensive and “not to talk about anything related to |
anything” because all of the calls are recorded.

48.  Onor about April 9, 2018, Mahde posted bail in the Lake County theft case and
was released from the Lake County Jail.

49, Later in the day on April 9, 2018, Mahde, Moyad, and another individual, whose
identity is known to Your Affiant, went to Business A, and rented a lane to shoot. Video

surveillance footage obtained from Business A shows that Mahde, Moyad, and the other

 
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individual all shot at Business A on April 9, 2018. The video footage and Business A records
also establish that Mahde brought 9 millimeter ammunition to the Business A register prior to the
group’s range time on April 9, 2018, and that this ammunition was purchased by the other
individual. The video footage and Business A records indicate that each of the three used the
newly-purchased 9 millimeter ammunition during their range time on April 9, 2018. Video
footage from Business A also appears to show Mahde handling ammunition and Mahde and
Moyad each using their respective cellular telephones to take photos or videos of each other
shooting on April 9, 2018.

50. Subsequently, in April of 2018, an FBI Confidential Human Source (CHS1)"' met
Mahde at a jewelry kiosk inside the Castleton Square Mall in Indianapolis, Indiana. Mahde was
working at this kiosk at the time, and Mahde and CHS1 struck up a conversation about work.
CHS] represented to Mahde that he owned a business and Mahde expressed an interest in
potentially working for CHS1 as a salesman.

51. After their initial encounter, Mahde remained in contact with CHS1, and the pair
continued to meet periodically for meals and discussion of common interests. During one of the
first few encounters with CHS1, Mahde told CHS1 that in his spare time he (Mahde) enjoys
going to firearms ranges and that he owns several firearms.

52. Based on a review of the Indiana court docket for his case, on or about April 23,

2018, Mahde made his initial appearance in Lake County Superior Court on the felony theft and

 

‘1 CHS1 has been working with the FBI since around August of 2014 and has been compensated for services and
expenses. Prior to 2014, CHS1 worked periodically with the FBI from around 1988 to 1991. CHS1’s work with the
FBI has been voluntary. CHS1 has been vetted and is assessed to be reliable, and much of CHS1’s reporting has
been corroborated.

 
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misdemeanor conversion charges filed on December 5, 2017.

53. | Onor around May 14, 2018, Mahde and Moyad were observed shooting firearms
at Business A, in a lane that was rented by Mahde. A cash register receipt obtained from
Business A establishes that on May 14, 2018, Mahde purchased .223 caliber ammunition from
Business A. Video surveillance from Business A appears to show Mahde handling ammunition
and using his cellular telephone to take photos or videos of Moyad shooting.

54. | Onor around May 18, 2018, CHS1 met with Mahde. During the meeting, Mahde
took note of a large roll of cash that CHS1 was carrying on his person. Mahde commented that
CHS! likely didn't make that kind of money in CHS1’s business and probably had other means
of income. Mahde told CHS1 that he wanted a piece of whatever action CHS1 was into and that
he didn't care about the legalities of it.

55. On June 11, 2018, Mahde and CHS1 met for lunch. This meeting and all
subsequent in-person meetings between Mahde and CHS1 were audio recorded. During the meal
CHS1 told Mahde that CHS1 was a convicted felon, which made CHS1 unable to purchase or
possess firearms. Mahde and CHS! discussed the possibility of Mahde purchasing firearms for
CHS] and how they can make money doing this. Later in the conversation, Mahde told CHS1
that it was easier for him (Mahde) to get “dirty guns.” When CHS1 asked Mahde what he meant,
Mahde replied “dirty, like with bodies on them,” or words to that effect.

56. During the same conversation on June 11, 2018, Mahde bragged to CHS1 that he
had once purchased forty (40) magazines worth of ammunition over the Internet, and had
subsequently gotten a call from the FBI about that purchase. Mahde told CHS1 that when the
FBI asked him what he needed all of that ammunition for, Mahde told the FBI “none of your

fucking business,” or words to that effect. Although Mahde and CHS1 discussed “running guns”

 
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together on June 11, 2018, that meeting ended without any plan for Mahde to obtain firearms for
CHS1.

57. In the late night hours of June 15, 2018, Mahde called CHS1 to advise that he
(Mahde) was returning to Indianapolis from Chicago, Illinois, and that he had some items to give
to CHS1. Mahde would not discuss what the items were over the phone with CHS1, but Mahde
told CHS1 that he would be driving slowly from Chicago to Indianapolis.

58. At approximately 12:30 a.m. on June 16, 2018, CHS1 met Mahde in a parking lot
located along North Keystone Avenue in Indianapolis. Mahde arrived in the BMW that he has
been observed in throughout this investigation.” During the meeting Mahde gave CHS] a plastic

bag containing the following items:

a. One Taurus 9mm handgun (PT111 G2), serial number TKT69241, loaded
with an extended magazine containing twenty-three (23) rounds of 9mm ammunition;

b. One Mini Draco 7.62 x 39 mm handgun, serial number PD-1735-2011
RO, loaded with a magazine containing twenty-five (25) 7.62 x 39 mm rounds; and ~

c. One ATAK Arms Ltd. 9mm starter pistol, serial number 000135 0717,
loaded with a magazine containing 9mm “blank” rounds, one of which was chambered.

59. During the course of the recorded transaction in the parking lot, Mahde explained
to CHS1 that he had driven to Chicago where he stole the two handguns and the starter pistol
from unknown individuals.

60. Later on June 16, 2018, CHS1 paid Mahde $1000 for the two firearms (Taurus
and Mini Draco) and the ATAK starter pistol.

61.  Onor around June 18, 2018, FBI agents observed Mahde and Moyad shooting
firearms at Business A in a lane that was rented by Mahde. A cash register receipt obtained from

Business A established that Mahde purchased 5.56 millimeter and 9 millimeter ammunition from

 

12 This vehicle is one of the Subject Vehicles as defined in paragraph 7 of this Affidavit.

 
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Business A on June 18, 2018. Video surveillance from Business A also appears to show Mahde
- using his cellular phone to take photos or videos of Moyad shooting.

62. | CHS1 met with Mahde again on June 22, 2018. During the course of the
conversation, CHS1 told Mahde that CHS1 sold the guns Mahde brought him to a friend, and the
friend was going to swap out the barrel on the starter pistol and sell it as a firearm. CHS1 also
told Mahde that CHS1’s friend was going to give CHS1 a list of guns that he wants. Mahde
asked CHS1 if he (Mahde) should get those guns off of the streets and CHS] replied it was better
to get them new. CHS1 reiterated that he was prohibited from buying guns, but Mahde advised
CHS1 that he (Mahde) has some people who can buy guns for him. Mahde also mentioned to
CHS 1 that the Mini Draco was close to brand new and that he (Mahde) had cleaned it. |

63. During the same conversation on June 22, 2018, Mahde advised CHS1 that he
(Mahde) was interested in purchasing gun parts, having the gun parts shipped to a P.O. box, and
then assembling untraceable firearms from those gun parts. Mahde described the untraceable
firearms as “ghost guns.”!? During the course of the conversation Mahde also discussed using
polymer gun components and attempting to use 3D printing to produce gun parts. Mahde told
CHS1 that he thought his brother (Moyad) would be interested in building and selling ghost guns
because they're big money and because he and his brother already have the necessary tools for
such assembly. According to Mahde, he and his brother could set up a gun assembly shop at their
home. Mahde also indicated that his brother had built an AR-15 rifle in the past.

64. Later on June 22, 2018, CHS1 and Mahde met again, this time at Business A.
During this recorded meeting, Mahde again discussed with CHS1 the replication of firearms

parts in polymer or stainless steel. Mahde told CHS1 that the appropriate material for certain

 

13 The FBI assesses that Mahde is referring to the fact that firearms manufactured in this manner would not bear
serial numbers.

 
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parts of a firearm depended on whether the weapon was chambered for a 5.56 millimeter or a
.223 caliber round. Prior to CHS1 and Mahde entering the shooting range at Business A, Mahde
purchased 200 rounds of ammunition. While on the shooting range, Mahde allowed CHS1 to
shoot the firearm that Mahde brought with him, despite knowing that CHS1 is a prohibited
person. Business A video footage appears to show Mahde using his cellular telephone to take
photos or videos of them shooting.

65. = After finishing on the shooting range, the conversation between Mahde and CHS1
returned to using a 3D printer for polymer or stainless steel firearms parts. Mahde indicated he
believed stainless steel would be best for building firearms and that untraceable firearms could
be built for $500 and sold for $1500. Mahde again stated that all of these “ghost guns” would be
untraceable, and, based on his (Mahde’s) research on ArmsList.com, “ghost guns” are very
popular. Mahde stated that ghost guns are legal and that no one registers them, even though you
are told to get them registered. Mahde advised CHS1 that his brother (Moyad) hasn't made a
ghost gun yet, but that Moyad just needs the lower receiver and he can build the gun around it.

66. On June 25, 2018, CHS1 and Mahde met for lunch. During lunch Mahde and
CHS1 discussed Mahde obtaining an 80% lower receiver for CHS1. Mahde told CHS1 that he
and his brother could build out the guns around these 80% lower receivers. Mahde also stated
that he (Mahde) has a work station in his room and the necessary assembly tools. Mahde
explained that he would purchase everything needed to build the firearms online, and have the
parts sent to a P.O. box. Mahde further described for CHS1 how he and his brother built out an
AR-15 that's at his house.

67. On July 9, 2018, CHS1 called Mahde to inquire about the 80% lower receiver

Mahde had ordered. Mahde advised CHS1 that it hadn't arrived yet. Mahde told CHS1 he had

 
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tried to order a “full lower” online from Business B"* in both his and his brother's names, but
those attempts were rejected by Business B. Mahde told CHS1 that he (Mahde) needs to find
someone who can order it [full lower] because Business B will not send it to him or his brother.

68. Later on July 9, 2018, CHS1 and Mahde met for dinner. During the course of the
recorded conversation Mahde advised CHS1 that he (Mahde) has been buying guns down in
Bargersville.!5 Mahde specifically mentioned a .40 caliber Glock that Mahde bought for $500
and advised CHS1 he would sell the next day for $1000. Mahde told CHS1 he had talked to his
brother (Moyad) about building the guns together with CHS1. CHS1 advised Mahde that CHS1
wanted to meet Mahde’s brother in person if the brother was going to be working with Mahde
and CHS] to build firearms. Following dinner, Mahde returned to CHS1's vehicle and showed
CHS1 a .380 caliber pistol that Mahde stated was from Afghanistan and almost brand new.
Mahde asked CHS1 if CHS1 could sell the pistol for him and CHS1 told Mahde that CHS1
would see if a friend wanted it.

— 69. On July 11, 2018, CHS1 met Mahde in a parking lot on the north side of
Indianapolis, where CHS1 purchased a Bersa .380 caliber pistol with serial number 469200 from
Mahde for $350.00. This handgun was loaded with a magazine containing two (2) 380 rounds.
Subsequent investigation revealed that the Bersa .380 had been reported stolen to the
Indianapolis Metropolitan Police Department (IMPD).

70. During the same, recorded, July 11, 2018, meeting, Mahde advised CHS1 that he
was supposed to pick up an AR-15 rifle from some Burmese Bloods gangsters that Mahde went
to school with. Mahde showed CHS1 a picture on Mahde’s cell phone of a shotgun that Mahde .

was trying to acquire from these individuals. The picture Mahde showed CHS1 depicted a

 

14 Business B is the same business from which Mahde purchased a DPMS AR-15 rifle (see paragraph 45 above).
15 The FBI assesses that this reference is to Bargersville, Indiana.

 
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number of firearms in addition to the shotgun. Mahde told CHS1 that he might trade his Beretta
for something but Mahde didn’t know if he could buy the rest of the guns. CHS1 asked Mahde to
send the pictures with the guns to CHS1’s phone, but Mahde advised that he couldn’t save the
pictures because they were on someone’s “Snap Story” (i.e., SnapChat feed) and those pictures
disappear in 24 hours.'® While looking at the picture on Mahde’s cellular telephone, CHS1 was
able to identify one weapon that appeared to be either a Mac-9 or Mac-10, and Mahde pointed
out an AR-15 rifle. CHS1 asked Mahde to try to get more pictures of the firearms.

71... Onor around July 15, 2018, Mahde and Moyad were observed shooting firearms
at Business A in a lane that was rented by Mahde. A cash register receipt obtained from Business
A establishes that Mahde purchased .223 caliber and 9 millimeter ammunition from Business A
on July 15, 2018. Video surveillance from Business A appears to show Mahde using his cellular
telephone while on the range.

72. On or around July 16, 2018, CHS1 drove Mahde to one of Mahde’s court hearings
in Lake County, Indiana. During this trip CHS1 and Mahde discussed ISIS and ISIS execution
videos. Mahde told CHS1 that he (Mahde) had watched a large number of ISIS execution videos.
Mahde said that he’s seen “the ones in Libya on the beach” and that he has watched “every
single one,” or words to that effect. CHS1 says [ISIS are] brutal mother fuckers, and Mahde
replies that “they send the message out like that,” or words to that effect. Mahde adds “that I
guess their [ISIS’s] tactic for negotiating [is] like don’t fuck with us, that’s what’s going to
happen,” or words to that effect.

73.  OnJuly 18, 2018, Mahde met with CHS1 and gave CHS1 an AR-15 80% lower

receiver with no serial number in a box.!” Consistent with prior conversations between CHS1

 

16 Your Affiant is aware that SnapChat is a popular messaging app that can be accessed from a user’s smartphone.
17 The FBI investigation revealed that on July 9, 2018, Moyad ordered an AR-15 80% lower receiver from Business

 
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and Mahde about using AR-15 80% lower receivers to produce ghost guns, Mahde provided this
AR-15 80% lower receiver to CHS1 so that CHS1 could inquire about having it milled to be
incorporated into a functioning and untraceable firearm. During that meeting Mahde and CHS1
planned to meet later on July 18 at Business A to shoot. CHS1 also agreed to buy a shotgun from
Mahde for $800 when they met at Business A that day. CHS1 gave Mahde $500 in advance with
an agreement to provide the remaining $300 at a later date.

74. Later on July 18, 2018, Mahde and CHS] rented a rifle from Business A to shoot
for approximately one half hour. After shooting, Mahde retrieved a Keltech KSG 12 gauge
shotgun, serial number XLM68, from his vehicle. During a recorded transaction in the parking
lot of Business A, Mahde brought the shotgun to CHS1's vehicle in the Business A parking lot
and gave it to CHS1. This was the shotgun that CHS1 had agreed to purchase for $800 earlier in
the day.

75. On July 24, 2018, both Mahde and Moyad met CHS1 at Business A and rented
two lanes for target practice. After shooting, CHS1, Mahde, and Moyad congregated in the
Business A parking lot, where CHS1 retrieved a Springfield Armory M1 .30 caliber rifle, bearing
serial number 5471688, from the trunk of the vehicle driven by Moyad. The rifle came with eight
(8) rounds of .30 caliber ammunition in a clip. Both Mahde and Moyad were present for the sale
of the M1 rifle in the parking lot. During the course of the transaction, CHS1 paid Mahde $1100
for the rifle, and Mahde told CHS1 that he (Mahde) had cleaned the rifle but CHS1 should wipe
it down again. Mahde also told CHS1 that he (Mahde) believed that the rifle was stolen.
Subsequent investigation revealed that the rifle was, in fact, reported stolen in North Carolina.

76. After transferring the stolen M1 rifle to CHS1’s vehicle, CHS1, Mahde, and

 

C, a federally licensed firearms dealer located outside of the Southern District of Indiana, for $49.85. The purchase
was made over the Internet.

 
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Moyad discussed a plan to work with one of CHS1’s friends to produce ghost guns. CHS1
advised Mahde and Moyad that both CHS1 and the CHS1’s friend were “dirty” and couldn’t do
anything with firearms legally because of their issues [as convicted felons]. Following the
purchase of the M1 rifle, Mahde and Moyad departed the Business A parking lot in a vehicle
driven by Moyad. '®

77. On August 6, 2018, CHS1 met Mahde in a parking lot on the north side of
Indianapolis where Mahde sold CHS1 a Beretta Model 92G, 9 millimeter handgun, bearing serial
number BER489540, and three 9mm magazines, for $450.

78. On or about August 4, 2018, the FBI received records from AT&T, an Internet
service provider, confirming that AT&T account number 254360283 and Internet Protocol (IP)
address 172.6.102.114 are associated with the residence address at 10683 Summerwood Lane,
Fishers, Indiana 46038, and have been since on or around October 25, 2017. Those records
further established that AT&T account number 254360283 is subscribed to by Mohdkear
Dannon.

79. On August 14, 2018, Mahde and Moyad met CHS1 and an Undercover Employee
(UCE]1) in a parking lot off of Keystone Avenue in Indianapolis. Moyad and Mahde followed
CHS1's vehicle to a nearby office park where CHS1 identified a potential rental space for the
ghost gun manufacturing operation.

| 80. | Once at the office park, CHS1 introduced Mahde and Moyad to UCE1, and the

group discussed details of the ghost gun manufacturing process. Specifically, it was agreed that

 

18 On November 14, 2018, the FBI obtained a federal search warrant for Mahde’s Apple, Inc., iCloud accounts
associated with email addresses mahde_dannon@yahoo.com, mahdidannon@icloud.com, and/or Apple DSID
8456017954. FBI agents subsequently recovered a video from Mahde’s Apple iCloud account, recorded on July 24,
2018, and apparently filmed by Mahde using his cellular telephone. In the video, what appears to be Mahde’s left
hand can be seen in the passenger seat of a moving vehicle fanning through $100 and $20 bills in U.S. currency,
which appears to be the $1100 that CHS1 paid Mahde and Moyad for the M1 rifle.
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CHS1 would rent office space for the group to use to manufacture the “ghost guns.” Mahde and
Moyad would be responsible for purchasing 80% AR-15 lower receivers and providing them to
UCE1. UCE1 would then have his friend mill out the lower receivers, a prerequisite to using the
receiver in a functioning firearm. Once the lower receivers were milled, UCE1 would meet with
Mahde and Moyad at the office space. Moyad will be provided with the complete lowers from
UCE1, and Mahde and Moyad would then assemble the ghost guns with the milled lowers and
the remaining necessary components that Mahde and Moyad had purchased.

81. According to the agreed upon plan, if the assembled firearms functioned properly,
UCEI would pay Mahde and Moyad and then take possession of the firearms. Moyad explained
that he would need a table in the office space, but he would bring his own tools. During this
meeting CHS1 and UCE1 again stated that neither of them is able to buy the gun components
because they're both convicted felons. During the meeting CHS1 also told Mahde and Moyad
that the guns would be going south of the border, and UCE1 emphasized that the guns need to be
Mil-Spec!? and reliable, or the ultimate buyers of the weapons could cause problems for UCE1
and everyone else who was involved in making the guns. UCE1 and Moyad also agreed that in
the first batch of three (3) ghost guns, two (2) would be made with 16 inch barrels and one (1)
would be made with a 9 inch barrel. Prior to the conclusion of the meeting, CHS1 told Mahde
and Moyad that UCE1 is “one of us,” meaning a Muslim, and Mahde and Moyad discussed their
planned travel to Jordan in October of 2018.

82. On or around August 16, 2018, CHS1 met Mahde for breakfast. Mahde told
CHS1 that he was pleased that UCE1 is “one of us,” meaning a Muslim, because Mahde “didn’t

want a white boy,” or words to that effect. Mahde told CHS1 that three additional AR-15 lower

 

19 Mil-Spec is an abbreviated term that stands for “military specification.”

 
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receivers were ordered and were on their way, and added that buying the AR-15 lowers in bulk is
cheaper. As the conversation went on, Mahde discussed prices for the AR-15 ghost guns that he
and his brother planned to build for UCE1, with Mahde indicating his costs for parts will be
around $1000 per firearm and Mahde needed to charge for Moyad’s labor as well. CHS1 told
Mahde to work the price out with UCE1 and to send CHS1 a list of parts they will be using.
Mahde told CHS! that he had friends who could order parts on their credit cards for him. Later
in the conversation CHS1 tells Mahde that he is about making money and supporting the cause,
and Islam permits their activities because they are supporting the cause.

83. On or around August 17, 2018, CHS1 met Mahde in Fishers, Indiana, and
obtained three AR-15 80% lower receivers from Mahde and paid Mahde $300. CHS1 advised
Mahde that the three AR-15 80% lower receivers would be sent out for milling. During this same
meeting CHS1 gave Mahde the opportunity to back out of the ghost gun deal, “before they
(Mahde, Moyad, and CHS1) got involved with a bunch of Mexicans down south,” or words to
that effect. CHS1 reminded Mahde that he shouldn’t get into the deal if he couldn’t afford to
continue to buy parts in advance. Mahde replied that he basically had one of the ghost guns built
out already, absent the lower receiver, and that he would use the $300 he’d received from CHS1
to buy components for the completion of the second ghost gun.

84. A subsequent review of Mahde’s Apple iCloud account showed that on or around
August 17, 2018, Mahde used his cellular telephone to send text messages to Moyad’s cellular
telephone and to CHS1 about the AR-15 80% lower receivers and other parts needed to assemble
~ an AR-pattern rifle. Mahde mentioned that he would get the lower receivers soon and discussed

obtaining other firearms components. Mahde also sent a list of the tools necessary to assemble an

 
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AR-pattern rifle to CHS1 using his cellular telephone.

85. Onor around August 24, 2018, CHS1 met with Mahde in a parking lot on the
north side of Indianapolis, where Mahde sold CHS1 a DPMS Panther Arms Model A-15 .223
caliber rifle, bearing serial number FH176276, for $1400. Prior to this meeting Mahde told
CHS|1 that he (Mahde) wanted to sell the rifle in order to raise money for the purchase of more
ghost gun components. During the meeting Mahde told CHS1 he (Mahde) cleaned the rifle fresh
for CHS1, including the barrel. Mahde then discussed ordering additional parts for the ghost
guns that day, saying he had parts for everything but was waiting for triggers. CHS1 reminded
Mahde not to blow the $1400 from the AR-15 sale, as Mahde would need that money for the
next 10 or 15 ghost guns, to which Mahde replied “exactly.””°

86. Subsequent investigation revealed that the DPMS Panther Arms Model A-15 rifle
that Mahde sold to CHS1 on or around August 24, 2018 was reported stolen to IMPD in
approximately July of 2018.

87. On September 6, 2018, CHS1, UCE1, Mahde, and Moyad met in an apartment in
Indianapolis, Indiana, to build three AR-15 pattern ghost guns. The group was using an
apartment to build the firearms as the office space had not yet been rented for that purpose.
Mahde carried the firearms parts to the meeting in a black gym bag. Once inside the apartment, :
Mahde and Moyad both put on rubber gloves before beginning to remove gun parts from the
black bag. Mahde was armed with a holstered pistol during this meeting.

88. | While Moyad and Mahde worked to build the firearms, the group discussed future
gun builds and UCE1 again told Mahde and Moyad that the guns were going to Mexico. Moyad

and Mahde discussed purchasing gun parts from different stores to eliminate questions, and

 

20 Mahde arrived to this meeting in a white Ford Mustang bearing Indiana license plate 764 LUX. This vehicle is
one of the Subject Vehicles as defined in paragraph 7 of this Affidavit.

 
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Mahde stated that he has several people who help him buy parts so that they can’t be traced back
to him. The group then discussed setting up a fake office space in which to build the next set of
guns. Mahde mentioned that he and Moyad could also manufacture Glock 19 ghost guns,”! but
UCE1 replied that the cartels would probably not be interested in those.

89. During the gun build, after Moyad installed the hammer into the first lower
receiver, he tested its functionality and then told the group that the lower receiver was now
considered a firearm because the hammer was installed. At another point in the conversation,
Mahde asked UCE1 if UCE1 could obtain suppressors. UCE1 and CHS] explained that
suppressors require ATF approval and the fact that neither of them can apply to the ATF
[because both CHS1 and UCE1 are prohibited from possessing firearms]. UCE1 told Mahde that
guys in his (UCE1’s) position have to pay a premium for firearms items because they can’t
purchase them legally. Later, both Moyad and Mahde used their cellular telephones to research
an issue they encountered with a detent pin on one of the ghost rifles.

90. Once the first rifle was complete, Moyad presented it to UCE1 and explained how
_ the weapon functioned. Moyad asked UCE] if he was going to wipe the guns clean at a later
time, because UCE1 was handling the weapon without wearing nitrile gloves. Moyad also
explained the security steps he was taking with his phone and online, including turning the
microphone off on all applications he uses. Moyad stated tht he uses a VPN called AppSecure,
for which he pays $30 a year, and Moyad and Mahde advised that they communicate via
Snapchat. Moyad and Mahde then explained that AppSecure makes it appear as if Moyad is in

France when he’s using the Internet and when Moyad uses Google the results are all in French.

 

21 On or around November 22, 2017, Moyad ordered an 80% PF940CV1 frame for Glock and a Glock 19/23/32
holster from Business C for $148.50. Open sources indicate that the polymer 80% PF940CV1 is textured for Glock
handgun models 19, 23, and 32. This online order was placed using IP address 172.6.102.1 14, which was previously
associated with Moyad’s and Mahde’s home address of 10683 Summerwood Lane, Fishers, Indiana 46038.

 
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Moyad advised that you can buy AppSecure through the app store, and you can pay for it with
gift cards. Mahde stated that he bought half the gun parts with gift cards in order not to be
tracked, and mentioned that the police took his cell phone with a search warrant and were trying
to open it.’? Mahde claimed that he already wiped the phone and just wanted to waste police time
by not giving them the PIN code. Mahde says that he needs to wipe his new phone before
traveling to Jordan.

91. After Moyad and Mahde assembled the three (3) ghost guns, the group discussed
the pricing for each weapon. Moyad and Mahde described the risk associated with buying pre-
assembled uppers, and explained that they are buying parts separately to reduce risk, but that also
costs more. During the negotiation UCE1 again stated that the weapons were going to Mexico.

92. UCE1 ultimately agreed to pay $2000 for each ghost gun, for a total price of
$6000 for the three (3) ghost guns that were assembled by Moyad and Mahde. UCE1 gave the
money to CHS1 who, in turn, counted the money out to Mahde.

93. On September 13, 2018, CHS1 and Mahde met in a parking lot on the north side
of Indianapolis, where Mahde sold CHS1 a Bushmaster Carbon A-15 rifle with serial number
CRB028153 and two magazines for $1000. The rifle was equipped with a FieldSport optic.

94. During the September 13, 2018, meeting, CHS1 and Mahde discussed the dates
for Mahde’s and Moyad’s upcoming travel to Jordan. Mahde advised CHS1 that he was leaving
on October 3, 2018 and that Moyad was leaving on September 21, 2018.23 Mahde also revealed

that he was scheduled to return on October 21, 2018 and that Moyad would return “a little after

 

22 The FBI assesses that Mahde is referring to the Apple iPhone that was seized in connection with his March 21,
2018 arrest by the FPD (see paragraph 30 of this Affidavit).

23 1J.§. CBP records indicate that on September 21, 2018, Moyad and his father, Mohdkear, departed the United
States from ORD to Amman, Jordan. CBP records also show that on October 3, 2018, Mahde departed from ORD to
Amman, Jordan.
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that.” CHS1 tells Mahde that things will have to wait until they return home. Mahde told CHS1
to get him (Mahde) a list of gun parts needed for the second “ghost gun” build because Mahde
might obtain some of the parts from overseas. CHS1 and Mahde also discussed the amount of
money Mahde and Moyad were making per weapon, with Mahde telling CHS1 that he (Mahde)
made $500 from their last deal and that Moyad made $1500. CHS1 told Mahde he should try to
get the parts costs down to $500 to $600 per rifle so they all can make money. Mahde asked
CHS1 how much UCE1 was making per rifle, and CHS1 replied that he did not know.

95. | Onor around September 18, 2018, UCE1 called Moyad to tell him that the guns
that Moyad and Mahde built arrived at their destination and that the buyers liked them. UCE1
and Moyad discussed building another ten (10) ghost guns for the same buyers if Moyad and
Mahde can get ten (10) more 80% lowers, and discussed pricing and transportation associated
with the next ten (10) firearms. Moyad noted that Mahde was getting a cut of the proceeds for
ordering parts, so Moyad would discuss final pricing with Mahde. UCE1 and Moyad tentatively
agreed, however, to a price between $1500 and $2000 per rifle for the next batch of weapons.
Before hanging up Moyad told UCE1, “Hey listen. This [gun building] is my thing. I’m just
trying to put my foot through the door. I like this kind of stuff so I have no problem with it
whatsoever,” or words to that effect.

96. On or around September 20, 2018, CHS1 met with Moyad and Mahde at the
office space rented for the gun building operation. Part of the purpose of the meeting was to take
delivery of furniture for the office. During the meeting the trio discussed how to better secure
and stage the office to make it look like a legitimate business. CHS1 told Mahde and Moyad that
UCE1 wants to do ten (10) [ghost guns] when Moyad returns from Jordan. Moyad says he

doesn’t care how many guns they build, he can do 100, but he wanted to see about pricing

 
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because he didn’t like the sale price on the last ones. Mahde and Moyad asked CHS1 if the guns
were easy to transfer. CHS1 replied “yes” and told Mahde and Moyad that the guns were already
in Mexico. The conversation then turned to the prospect of producing fully-automatic ghost
guns. Moyad explained to CHS1 that they would need [different] bolt carrier groups and a
different trigger [assembly]. Moyad then asked CHS1 if CHS1 had ever heard of barn yard
triggers, which Moyad described as expensive, but basically turning a semi-automatic rifle into a
fully-automatic weapon. Mahde then asked CHS1 if “the cartel” has automatic weapons, and
CHS1 replied that is where the guns are going, south of the border. Mahde asked CHS1 about
selling fully-automatic weapons in the United States, and CHS1 replied that CHS1 and UCE1
“ain’t playing that game,” or words to that effect. |

97. — When UCE4 and CHS3 arrived with the moving truck and furniture, Moyad and
Mahde helped UCE4 move furniture into the office. CHS1 mentioned to Mahde that UCE4
would be a good outlet for the “ghost” Glocks. At that point Moyad advised UCE4 that Moyad
can get UCE4 Glocks that Moyad builds from scratch. UCE4 asks about how long it will take
Moyad to build a Glock and what the price would be. Moyad says he has built one already, but |
he hasn’t sold it yet. Moyad also says he doesn’t want to flood the United States with ghost guns
because “if the FBI finds one, they will find two,” or words to that effect.

98. On September 21, 2018, Moyad ordered ten (10) AR-15 80% lower receivers
from Business C for $379.90. This order was placed via the Internet, using IP address
172.6.102.114. These lower receivers were shipped to Mahde at 10683 Summerwood Lane,
Fishers, Indiana 46038, the same residential address associated with IP address 172.6.102.114.

99. Also on September 21, 2018, UCE1 called Moyad and ended up speaking with

Mahde. UCE1 and Mahde discussed building ghost guns and ways to cut costs to make the

 
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operation more profitable for everyone. Mahde explained that he was ordering gun parts from
different places, using prepaid cards, and shipped all the parts to post office boxes for security
reasons. Mahde advised UCE1 that he would rather stay on the safe side and pay more to get
parts than risk being caught. Mahde confirmed that he and Moyad had ordered ten (10)
additional AR-15 80% lower receivers for the next build, and, when they arrived, Mahde would
deliver those parts to CHS1 to be milled. The conversation ended with a general agreement that
UCE1 would buy each of the next ten (10) ghost guns from Mahde and Moyad for around $1700
to $1800 per rifle.

100. On September 28, 2018, Mahde met UCE4 in a parking lot off of East 82nd
Street in Indianapolis, where Mahde sold UCE4 a MAG Tactical Systems MG-G4 rifle, bearing
serial number MTS39920, and two ammunition magazines for $1800.00. The rifle was fitted
with an L3 EOTech optic sight, a Burris AR-Tripler magnifier, and a Burris AR-Pivot Ring.

101. Onor around October 3, 2018, Mahde flew to Amman, Jordan, from Chicago
O’Hare International Airport (ORD). On or around October 21, 2018, Mahde and Moyad
returned from Amman, Jordan, to ORD.

102. Upon their return from Amman on or around October 21, 2018, CBP at ORD
conducted secondary inspections of both Moyad and Mahde. All of the security and privacy apps
that were observed on Moyad’s phone during his March 30, 2018, CBP secondary inspection
were still on his phone during the October 21, 2018 secondary inspection.

103. Onor about October 24, 2018, the FBI received information that IP address
172.6.102.1 14, the IP address associated with 10683 Summerwood Lane, Fishers, Indiana, made

connections over ports 443 and 80 to IP address 104.31.94.23.4 Open source searches

 

24 On or about September 11, 2018, a U.S. Magistrate Judge for the Southern District of Indiana signed an order
authorizing a pen register trap and trace (PR/TT) for IP address 172.6.102.114.

 
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subsequently conducted by the FBI revealed that IP address 104.31.94.23 is associated with host
“isismedia.site” (e.g., “s31.isismedia.site/37012/480.mp4,” “s33 isismedia site,”
533 isismedia.site/375 17/360.mp4,” “$97. isismedia.site,” “s17.isismedia.site,” and
“img.isismedia.site”). Additional open source searches on the content of “isismedia.site” reveal
that a website that includes links to “s31.isismedia.site/36963/480.mp4,” among other
“isismedia.site” references, contains Arabic language which is machine-translated to English as
the “Unofficial website to display the Islamic State Publications | ISIS.” This same website
contains links to “al-Hayat-media-center-harvest-of-the-soldiers-hsd-ljnd-3.htm!” and other links
to “Al-Hayat Media Center.” Open source searches for “Al-Hayat Media Center” reveal that it is
a media wing of the Islamic State.”°

104. On October 30, 2018, IMPD officers were dispatched to the 6600 block of North
College Avenue in Indianapolis on a report of a person assaulted.”© The victim, M.M., whose
identity is known to Your Affiant, reported being assaulted by a former friend, Tarek Abu
Kadejah (Kadejah), and a male that M.M. positively identified as Mahde Dannon. M.M. reported
that he was a front seat passenger in a car driven by Mahde and that Kadejah was in the back seat
and in possession of a handgun. M.M. reported that he argued with Kadejah and at one point
requested for Mahde to stop the vehicle, but Mahde refused. M.M. stated that he jumped out of
the vehicle in the 6600 block of North College Avenue, whereupon Kadejah and Mahde exited
the vehicle and physically assaulted him. According to M.M., Mahde used his cellular telephone

to record a video of Kadejah assaulting M.M.

105. Mahde was interviewed by IMPD on November 6, 2018 in connection with this

 

25 In or around March of 2019, the Department of State advised that it has amended the terrorist designations of the
Islamic State of Iraq and Syria (ISIS) to include Amaq News Agency, Al Hayat Media Center, and other aliases.
26 This information was obtained from an IMPD report of the incident.

 
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incident and acknowledged driving the vehicle and being in the vehicle on October 30, 2018,
when M.M. jumped out of it. However, Mahde stated that he didn’t have a recording or photos of
the incident on his phone. Mahde also confirmed for IMPD that his address was 10683
Summerwood Lane, Fishers, Indiana.

106. On November 7, 2018, Mahde met with CHS1 in the Indianapolis area for the
purpose of selling CHS1 an FA Cugir M 10-762 7.62x39 mm AK-patter rifle, bearing serial
number MA-17214-13 RO. The rifle came with two shoulder stocks, six magazines, and other
accessories. CHS1 paid Mahde $1200 for this firearm and accessories. Mahde used his cellular
telephone to arrange this meeting with CHS1.

107. Onor around November 28, 2018, Mahde and Moyad met with CHS1 and UCE1
at the group’s office space for the purpose of building five (5) additional ghost rifles as part of
the brothers’ illegal gun manufacturing scheme. When all five (5) rifles were completed, CHS1
and UCE1 purchased them from Mahde and Moyad for $10,000. This payment consisted of
$9,000 for the five (5) ghost rifles and $1000 as a good faith down payment toward the building
of the next five (5) ghost rifles.”’

108. During the November 28, 2018, meeting, Mahde initiated a conversation
regarding the brothers’ plan to build fully-automatic M16 pattern rifles. Mahde indicated that he
could get full auto parts from overseas and ship them back to the United States. Mahde stated
that he wanted UCE1 to mill out AR-15 pattern lower receivers to match M16 specifications.
Moyad interrupted to clarify that Moyad and Mahde would provide UCE1 with 80% AR-15
lower receivers to mill to M16 specifications and the brothers would build fully-automatic M16s

with the parts from overseas. Moyad stated that they want to start with one rifle and then test it

 

27 The $9000 payment for these five ghost rifles was based on an $1800 unit price per rifle.

 
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somewhere, but not at a gun range. Mahde advised that his plan was to ship the necessary
firearms parts from overseas hidden in cars. Mahde and Moyad told UCE1 that they considered
buying one legally first and they explained to UCE1 how to obtain a legal fully-automatic
firearm through the ATF tax stamp process. The group then discussed the risk associated with
trusting the person who mills the lowers because that person will realize that a fully-automatic
firearm is being built. During the course of the conversation, Mahde references the automatic
‘weapons ban several times, incorrectly stating the year of the ban as 1979, and also noting that
manufacturing fully-automatic weapons could result in 20 years imprisonment.

109. Toward the end of the meeting on November 28, 2018, while discussing whether
or not to leave gun parts at the office, Mahde advised the group that having the milled lowers
was a felony because half of the people in the group were on probation. UCE1 once again
mentioned that the guns the group was building were going to Mexico.

110. In telephone conversations on December 5 and 11, 2018, UCE1 advised Moyad
that UCE1 plans to meet with one of UCE1’s associates (UCE5), who may be interested in
purchasing guns from UCE1 and Moyad. UCE1 wants Moyad to attend that meeting as UCE1’s
firearms technical advisor. Moyad agreed to attend the meeting.

111. On December 13, 2018, a felony arrest warrant for criminal confinement and
battery was issued out of Marion County, Indiana, for Mahde in connection with the October 30,
201 8, assault of M.M.”8

112. On December 17, 2018, UCE1 and Moyad met in Indianapolis prior to traveling
together to Bloomington, Indiana, to meet UCE5 at a restaurant. During the drive to

Bloomington, UCE1 and Moyad discussed firearms and the possibility of selling guns to UCES5

 

28 See Marion County Superior Court Cause No. 49G09-1812-F6-043784.

 
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or another individual. When discussing fully-automatic firearms, Moyad noted that it was
important not to “flood” any areas with the ghost guns that the group was manufacturing. Moyad
also asked if UCES was a “white guy,” and expressed surprise that UCE1 planned to discuss
guns in that [restaurant] setting. UCE1 replied that they would talk discreetly about the topic.
| 113. During the meeting with UCE5 on December 17, 2018, Moyad, UCE1 and UCES

discussed firearms manufacturing, shipping, and pricing, as well as selling guns south of the U.S.
border and building guns in Idaho. Moyad advised UCES that anyone can learn gun
manufacturing, but not everyone can do it. UCE1 and UCES agree that gun building is an art.
The group also discussed which encrypted messaging applications are the best to use.

114. With respect to potentially building additional weapons for UCES, UCE1 asked
Moyad if he could acquire gun parts faster, and Moyad replied it takes time because Moyad was
ordering everything in his name and he doesn’t want to throw red flags out there. Moyad also
expressed the opinion that gun shows were an expensive place to obtain parts because sellers try
to make money out of it. Moyad stated that you can try to negotiate with sellers at a gun show
but then they want to see your license.

115. During the car ride back to Indianapolis from Bloomington, Moyad observed that
UCES had all the symbols of a militia member, including his rings and a cellphone case with a
snake on it, and asked why UCES doesn’t work with “white folks” instead, like the militias.
Moyad then expresses concern about another white guy that wants 50 rifles, asking UCE]1 “the
way [the buyer] is ordering 50, are you sure he’s ordering them to go south, ‘cause I think he’s
keeping them,” or words to that effect. Moyad then clarified his concern, explaining that with the
militias “you gotta look at the picture a bigger way, there are a lot of FBI agents in them cause

the government is trying to watch them, especially those white militias. So we don’t want to tip

 
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someone if he fucking takes like 10 [ghost guns] and puts them in his camp to his guys and the
FBI agent tips it and tracks [the ghost guns] to you and then to me [meaning UCE1 and
Moyad].”

116. During a telephone call in January of 2019, Mahde advised CHS1 that he (Mahde)
has moved to the Chicago, Illinois, area and begun working in a jewelry store. Mahde also
confided in CHS1 that he was stealing jewelry again, and asked the CHS1 for assistance in
selling the stolen merchandise. Mahde used his cellular telephone to send the CHS1 pictures of
jewelry that he (Mahde) allegedly stole.

117. Onor around February 2, 2019, UCE1 called Moyad to discuss building a fully-
automatic rifle for one of UCE1’s trusted contacts out west. UCE1 told Moyad that UCE] |
wanted Moyad to fly “out west” with UCE1 to meet this individual and negotiate a price for this
sample rifle and for future gun orders. UCE1 mentions that they could potentially make more
money with other buyers, but UCE]1 prefers to deal with people he has dealt with for a long time.
Moyad asks if the build can occur on a day when Mahde is available because Mahde wants to
learn more about the gun building process. With respect to the pricing of this rifle and future gun
sales, Moyad says that he will have to discuss with Mahde, as Mahde already has money in the
operation. UCE1 and Moyad then discussed travel logistics for their trip out west.

118. On February 5, 2019, Mahde and Moyad met UCE1 at the group’s office space
for purpose of building a sample, fully-automatic rifle. Moyad and Mahde each put on nitrile
gloves before they handled any firearm components. UCE1] brought one (1) milled and stripped
AR-15 lower receiver and lower receiver parts kit to this meeting. The lower receiver and parts

kit were configured for fully-automatic operation. Mahde and Moyad brought one (1) AR-15

 
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complete upper receiver and a bolt carrier which was configured for fully-automatic
operation. Moyad also brought an AR-15 buffer tube system, stock, and grip.

119, During the meeting, Moyad, with Mahde's assistance, assembled one (1) AR-15-
pattern fully-automatic rifle. Moyad and Mahde completed assembly of the lower receiver by
installing the lower parts kit in the lower receiver and then adding the buffer tube system, stock,
and grip to the lower receiver. Moyad, with Mahde's assistance, then combined the finished
lower receiver with the complete upper receiver. When the rifle was completely assembled, it
was function tested for fully-automatic operation. Upon completion of the fully-automatic rifle,
UCE]1 took possession of the weapon for shipment to Arizona where UCE1 and Moyad would be
meeting with UCE1’s trusted contact out west (CHS2).

120. On February 13, 2019, Moyad arrived at Phoenix Sky Harbor International
Airport at approximately 11:30 a.m., where he was picked up by UCE1. UCE1 and Moyad then
drove to a location where they were picked up by UCE2 and UCE3 and driven to a location in
the Arizona desert. Upon arrival at the meeting location, the group was met by CHS2.” During
the meeting with CHS2, the above-referenced fully-automatic rifle (built by Moyad and Mahde
on February 5, 2019) was test fired and CHS2, Moyad, and UCE1 discussed the firearm and
other matters.

121. Specifically, during a recorded conversation with CHS2, the following exchanges
occurred:

a. CHS2 asked Moyad what types of weapons Moyad makes, and Moyad

replied that he makes AR rifles and Glock pistols, but explained that he does not like to
make the polymer [weapons] because they are not durable, and that he prefers to make

 

2° CHS2 has been working with the FBI for four-and-a-half years and has been compensated for services and
expenses. CHS2’s work with the FBI has been voluntary. CHS2 has been vetted and is assessed to be reliable.

 
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weapons using stainless steel because they are more durable. Moyad added that if CHS2
wanted to send weapons to Mexico, for example, they need to be more durable.

b. CHS2 explained to Moyad that CHS2 wanted weapons to ship to Mexico
and then from Mexico to Syria, Libya, and Iraq. CHS2 added that those places (meaning
Syria, Libya, and Iraq) were in need of something real good. Moyad replied that people in
those countries have to watch for defective weapons, and explained that the AR platform
rifle only fires .223 caliber/5.56 millimeter ammunition.

c. CHS2 added that they will help each other and that both are helping
others. CHS2 opined that Moyad wanted to make money but stated that he himself
(CHS2) did not care about the money. CHS2 stated that he has one goal, to defend the
land, religion, and honor.

d. CHS2 told Moyad that he has two guys overseas and that CHS2 needs to
contact them about any customized changes to the [weapon]. CHS2 suggested that
Moyad speak with his two guys from overseas to work together in regard to any custom
changes. Moyad asked CHS2 what group his men belonged to, and CHS2 replied that
they belong to the Caliphate of Syria, Iraq, and Libya. CHS2 explained that the Caliphate
currently exists in Syria, Iraq, Libya and Palestine in the future, and added that his men
are not young and that they are smart.

e. When the conversation turned to the pricing of the weapons, CHS2 told
Moyad that he wanted to agree on a price with Moyad rather than haggling with him.
CHS2 asked Moyad to give CHS2 a reasonable price where Moyad and UCE1 both are
benefited. CHS2 told Moyad that he needed only five (5) at the beginning, explaining that
CHS2 would test the weapons and ship them through Mexico to overseas. Once the first
five were delivered, CHS2 promised that he will then buy 50 additional rifles, in
increments of five.

f. As they continued to discuss pricing, CHS2 discussed wanting weapons
without any numbers on them, and Moyad replied that the semi-automatics were cheaper
than the full-auto. CHS2 replied that he wants full-auto rifles and that he expected to
order more than 50 of them.

g. Moyad advised CHS2 that he (Moyad) understood that CHS2 wants
something practical since the rifles CHS2 was buying are going to a war zone. Moyad
stated that the standard length of the rifle barrel is 16 inches, and CHS2 suggested the
possibility of changing the barrel length.

h. CHS2 told Moyad that CHS2 knows Moyad has to make money, but
CHS? has only one goal in mind which is to get weapons to Syria, Iraq, and Libya, and
getting good weapons to those three places is his main concern.

 
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i. Moyad discussed the difference between the M16 and the AR-15,
expressed his opinion that the M16 is more accurate than the AK-47 based on his
(Moyad’s) experience, and also expressed his knowledge that there are American bases in
Syria; Libya, and Iraq with this type of weapon.

je Moyad explained that his family was originally from a Jordanian tribe
called Danun, and that Moyad had spoken with people from Jordan about the price of the
M16. Based on those conversations Moyad believed that an M16 sells for 4 to 5 thousand

Jordanian Dinars, but Moyad thinks that the M16 is mostly purchased by the drug
dealers.

k. CHS2 expressed his concern that a spring in the M16 is what mostly
breaks, and Moyad replied that the weapon needs to be cleaned often. |

122. At approximately 3:15 p.m. on February 13, 2019, UCE2, UCE3, UCE1, and
Moyad departed the meeting location together in the vehicle driven by UCE2. CHS2 remained at
the meeting location. Prior to the group's departure, CHS2, UCE1, and Moyad agreed to meet
again later that day or on February 14, 2019, to continue discussions about firearms-related
matters.

123. On February 14, 2019, at approximately 10:45 a.m., CHS2 arrived at a Starbucks
in Tempe, Arizona, and met with UCE1 and Moyad. During this meeting the parties agreed that
CHS2 would purchase the fully-automatic rifle that was test fired the previous day from UCE1
and Moyad for $7000. In addition, it was agreed that UCE1 and Moyad would manufacture fifty
(50) more fully-automatic rifles that CHS2 would purchase for $10,000 each. Other relevant
parts of the conversation are summarized as follows: |

a. Moyad told CHS2 that Moyad had many friends from Syria that entered

Jordan illegally, adding that one of them had an ID for his father that indicated that he is

a member of the Syrian regime. CHS2 agrees and stated this is how they were able to

cross checkpoints and would join ISIS, Al-Nusrah Front, and so on. Moyad says that

most of the problems were in the countryside and around the city of Damascus, but not
inside of it.

b. Moyad told CHS2 he believed most people are migrating to Idlib these
days, and CHS2 replied that they go there to join Al-Nusrah Front. Moyad suggested that
they are joining Hay’at Tahrir Al-Sham [Organization for the Liberation of the Levant],

 
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and CHS2 replied that not too many people know them by that name since they changed
their name three times already. Moyad stated that the Turks there are taking care of Tahir
Al-Sham and that there are Turkish and Tahrir Al-Sham checkpoints next to each other.
CHS? says that he goes to Syria, but he doesn’t enter these areas since the regime has
eyes there. Moyad agrees that the regime has eyes there as well.

c. Moyad mentioned the 4" Division and CHS2 complimented Moyad on the
[freshness of] the information Moyad had regarding the situation in Syria.

d. Moyad asked CHS2 about the Kurds,*° and CHS2 replied that the Kurds
are in control of part of the country and that is over several areas east of the Euphrates
River. When CHS2 asked Moyad who is helping the Kurds control these areas, Moyad
replied “the Americans.” Moyad stated if it wasn’t for the American airpower, the Kurds
would not advance. CHS2 says the Kurds have killed a lot of Arabs and adds that they are
as bad as the regime.

e. CHS2 and Moyad discussed shipping the guns over the Mexican border
and then overseas, and CHS2 tells Moyad that for overseas communications they use
encrypted messaging applications. Moyad tells CHS2 that he is familiar with these types
of encrypted messaging applications. Moyad says that the messages must be encrypted
and CHS2 replies that these messaging applications are 100% encrypted.

f. CHS2 tells Moyad that if Moyad would like, Moyad can talk to a guy
whose username will be given to Moyad by CHS2. CHS2 tells Moyad that this guy has
big connections to the “Caliphate State.”3! CHS2 told Moyad that if he (Moyad) decides
to talk to the guy, just mention CHS2’s name.

g. Moyad asks CHS2 “How am I going to get in touch with this guy?” and
CHS2 replies that he will provide Moyad with the name.

h. CHS2 showed Moyad a piece of paper and asks Moyad if Moyad is able to
read the individual’s usernames (“handles”) for two (2) different encrypted messaging
applications.>2 Moyad replied that he already had the usernames memorized.

i. CHS2 asked Moyad if he was truly interested in traveling overseas as
Moyad had mentioned the day before in the desert. Moyad asks to which country CHS2
was referring, and CHS2 replied Syria, Iraq, or Libya. Moyad asked CHS2 if CHS2
would accompany Moyad on the trip, and CHS2 said he would go with Moyad, but he
wouldn’t stay there with him. Moyad asked CHS2 if the travel was via land or sea, and

 

30 Your Affiant is aware that the Kurds are an ethnic group in Syria and Iraq that is allied with the United States in
its fight against ISIS.

31 After saying the Islamic State or words to that effect in Arabic, CHS2 wrote "ISIS" on a napkin and showed it to
Moyad. When showing the napkin to Moyad, CHS2 stated that the group is commonly known by this name. Moyad
looked at the napkin, smiled, and acknowledged that he understood what CHS2 was saying.

32 These two encrypted messaging application handles are associated with an FBI Online Covert Employee (OCE).

 
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CHS2 indicated it was air travel from Dubai to Istanbul and from Istanbul to Syria.
Moyad replied “inshallah” (God willing), he would travel in the future.

124. After the meeting at Starbucks ended on February 14, 2019, UCE1 drove Moyad
to Phoenix Sky Harbor International Airport for Moyad's return flight to Indianapolis
International Airport. UCE1 gave Moyad $700 to cover Moyad's airfare, Uber costs, and other
expenses. After Moyad had returned to Indiana, CHS1 met Moyad on the north side of
Indianapolis on February 21, 2019, and paid him $3430 on behalf of UCE1. This amount
represented Moyad's $3500 cut from the sale of the fully-automatic rifle to CHS2 less $70 that
Moyad owed UCE1. Moyad arrived to this meeting driving a black GMC Acadia bearing Indiana
license plate 838 TNT.

125. Onor around February 16, 2019, Moyad contacted an FBI Online Covert
Employee (OCE) using one of the encrypted messaging application handles that Moyad received
from CHS2. Moyad told the OCE that he was an acquaintance of CHS2.

126. Onor around February 21, 2019, Moyad contacted the OCE and said that he
wanted to get to know the OCE and wanted to know how long the OCE has known CHS2.
Moyad asked the OCE if OCE is still in that land and if OCE is alone or with a certain group and
in which country. Moyad sends his greetings and asks Allah’s protection for the monotheists.

127. Continuing on or around February 21, 2019, Moyad asked when the OCE gave
his Bayah [pledge of loyalty to the Islamic State]. Moyad advised that he follows all of the
[Islamic State] news and that he has the knowledge. Moyad explained that he wanted to ask OCE
which country because he (Moyad) knows the current situation there. Moyad asked the OCE in

which Wilayah [province of the Islamic State] the OCE currently resides.

 

33 This vehicle is one of the Subject Vehicles as defined in paragraph 7 of this Affidavit.

 
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128. Continuing on or around February 21, 2019, Moyad stated that he hasn’t given his
Bayah, because the Bayah is given in “that land” or in specific situations. Moyad adds that “I am
on the right path and with its [the Islamic State’s] followers, [and] I am until judgment day,” or

| words to that effect. Moyad added that he (Moyad) is OCE’s brother and on the same path.
Moyad asked OCE not to forget him.

129. Onor around February 25, 2019, Moyad again contacted the OCE, sending his
greetings. During this online conversation OCE asked Moyad what he does for a living, and
Moyad replied that he is a businessman with experience in mechanics, electricity, and weapons.
Moyad asked OCE if he has left Al-Baghuz (a city in Syria) and mentions the Kurds in a
derogatory fashion. The OCE then asked Moyad if he received his weapons and mechanical
training and experience through the military. Moyad replied that he was not in the military, but
that special training helped him gain his [weapons and mechanical] experience. Moyad then
asked the OCE “what is the way to reach that land”3* and “how does one get there,” or words to
that effect.

130. Onor around February 26, 2019, Moyad contacted the OCE, saying that he had |
watched videos of the families exiting Al-Baghuz and wonders if they are safe from the Kurdish
apostates.

131. Onor around February 27, 2019, Moyad states that he prays for Allah to keep him
(Moyad) on the path of truth and may He grant victory to His monotheist servants everywhere.
With respect to travel, Moyad says that the will is there [for Moyad to travel] and that

coordination between OCE and Moyad is a must. Moyad tells the OCE that, for Moyad, getting

 

34 The FBI assesses that Moyad is referring to Syria, Iraq, or other countries in which ISIS controls some territory.

 
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into countries neighboring Syria is doable and so are travel documents, but Moyad wants advice
from OCE or from the brothers on the best ways to get there [meaning Islamic State territory].

132. Onor around February 28, 2019, Moyad asks OCE if there is a Diwan
[Department] or office for coordination or brothers charged with this task [of coordinating travel
for supporters coming from overseas].

133. Onor around March 3, 2019, OCE asks Moyad when he will be traveling and the
name of the neighboring country [to Syria] that Moyad can easily travel to. The OCE tells
Moyad that once it is decided what country Moyad will enter from, things will be arranged.
Moyad says that he can get to all of the neighboring countries and Moyad wants OCE to tell him

_ which country is the easiest to pass through in order to get into Syria and what type of documents
are required.

134. Continuing on or around March 3, 2019, the OCE asks Moyad if he will be
traveling alone, where he is currently, what type of passport he has, and what neighboring
country he would prefer to travel through. Moyad replies that the OCE should slow down and
have patience, and that he (Moyad) “will answer only one question for security reasons.” Moyad
then says “let’s say that the neighboring country is Turkey.”

135. Onor around March 5, 2019, Moyad asks if he arrived in Turkey, will the
crossing be from Gaziantep or from Antioch [Hatay].*° Moyad then opines that crossing form
Gazientep is more difficult because of the wall and it leads to “QASD [Syrian Democratic
Forces] pigs.” Regarding crossing from Antioch to Idlib, Moyad thinks that is easier even with

the presence of Julani gangs [leader of Al-Qaeda splinter group]. Moyad tells the OCE that he

 

35 Your Affiant is aware that Gaziantep and Antioch [Hatay] are both Turkish cities near Turkey’s border with Syria.
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(Moyad) has been following the news of the Julani gangs and the measures taken by the Hay’ah
[Julani’s organization] and its activities around Idlib.

136. Onor around March 6, 2019, OCE asks Moyad what he (Moyad) can assist with
once he arrives and which department he wants to join. Moyad replies that he can help militarily,
whether on the front lines or in the security department. Moyad reiterates that he has experience
with weapons, mechanics, and electricity and that he is knowledgeable in planning and
implementing. Moyad then asks the OCE if confirmation of an assignment to a unit is done after
entering the religious training and the camp. Moyad mentions that it is best to be safe and
wonders if entering from Lebanon, Jordan, or the Arabian Peninsula is easier. Moyad says that
he will contact OCE once he arrives in the best country to cross, whether Turkey or not.

137. On March 6, 2019, CHS1 drove Mahde to Mahde’s scheduled hearing in the Lake
County Superior Court in connection with Mahde’s pending felony theft and misdemeanor
conversion charges. As Mahde was leaving his hearing he was arrested on the outstanding
Marion County (Indiana) warrant for criminal confinement and battery that was issued in
December of 2018.36 Following Mahde’s arrest on March 6, 2019, CHS1 turned Mahde’s
iPhone over to FBI agents, left Mahde’s car parked in the Merrillville, Indiana area, and returned
to Indianapolis in CHS1’s own vehicle.

138. Also on March 6, 2019, FBI agents seized and searched Mahde’s iPhone pursuant
to a warrant issued by a U.S. Magistrate Judge in the Northern District of Indiana on March 5,
2019.

139. | The search of Mahde’s iPhone revealed communications between Mahde and

others in which Mahde was attempting to purchase firearms, in violation of 18 U.S.C. § 922(n).

 

36 See paragraph 111 above.

 
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Mahde’s iPhone also contained multiple photographs and videos of firearms and ammunition
~ that Mahde had possessed in violation of 18 U.S.C. § 922(n). It also contained photographs and
videos of firearms which Mahde and Moyad had assembled and sold in violation of 18 U.S.C. §§
922(a)(1)(A) and 922(d). :
140. Onor around March 7, 2019, CHS1 returned Mahde’s iPhone and car keys to
Moyad.
141. Onor around March 7, 2019, Moyad contacted the OCE and made reference to an
ISIS ambush on Al-Dibis-Kirkuk road that had recently occurred. Moyad praised Allah, and
asked Allah to protect the monotheists. Moyad says that he will contact OCE before he travels
and that if he has “a buddy” that buddy will travel with Moyad to make things easier. Moyad
then asks the OCE to explain how Moyad can enter Syria from the rest of the countries because
entry from southern Turkey into the northern parts of Syria [Islamic State areas] and crossing
from ypd/pkk checkpoints*’ is more difficult than entering Islamic State areas from the Arabian
Peninsula or Jordan. Moyad says that he does not trust smugglers, and if he had a little
background information on crossing points and checkpoints, he (Moyad) could make a plan that
will enable him to get there. Moyad added that “crossing these days is harder than it was at the
- beginning of the events [the war in Syria].”
142. Onor around March 16, 2019, Moyad contacted the OCE and asked how the
monotheist brothers were doing. On or around March 17, 2019, the OCE replied that the
-monotheist brothers are well and that morale is high. The OCE explained that he wanted to know

how they can benefit from Moyad’s weapon experience in the meantime. OCE asks Moyad to

 

37 Your Affiant is aware that the PKK refers to the Kurdistan Workers Party. Open sources describe the PKK as an
armed Kurdish militant group and the YPD (likely variant of PYD) as an offshoot of the PKK.

 
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contact OCE if he is willing to help and OCE will explain. Very shortly thereafter, Moyad
replied to the OCE, stating “I am all ears,” or words to that effect.

143. Onor around March 18, 2019, OCE tells Moyad that the brothers captured many
weapons from the Kurd PKK apostates, many M16 rifles in all varieties with ammunition, but
they do not have the expertise to maintain, assemble, and operate those weapons properly. The
OCE asks Moyad to provide any assistance he can to help them use the M16 rifle.

144. Moyad responded to that request on or about March 18, 2019 by providing OCE
with a detailed narrative related to the inspection, maintenance, assembly, cleaning, and
operation of the M16 rifle. At the end of these instructions, Moyad added:

Praise be to Allah, as I told you, my brother, I have experience with weapons, especially
M16 rifle, if only I was there to help. I pray to Allah to remain steadfast and firm. Ask me
brother if you all face a specific problem with the rifle and you are looking for a solution
and I will answer it for you, Allah willing.*®

145. Onor about March 18, 2019, Moyad asked OCE, “[W]hat language do the
migrants [foreign brothers] speak?” Moyad then also sent OCE an audio file entitled the Al-
Furqan Media Foundation? presents: An audio speech by the official spokesman of the Islamic
State (Al-Sheikh Al-Mujahid Abu al-Hassan al-Muhajir) under the title: He was sincere toward
Allah and Allah fulfilled his wish. Moyad tells OCE that it is very important for the OCE to

listen to the audio speech.”°

 

38 In the original communications between Moyad and OCE on or around March 18, 2019, Moyad’s M16 rifle
explanation is in Arabic.

39 According to open sources, the Al-Furqan Media Foundation is a media arm of ISIS.

40 This speech is approximately 44 minutes long, and was translated and summarized by an FBI Arabic Language
Specialist. In this speech Abu al-Hassan al-Muhajir, in pertinent part: (1) states that the fighters of the Islamic State
need to know their worth with Allah and they need to put their trust in Allah and keep on going with the jihad; (2)
explains the virtues of jihad and quotes the hadith related to a newly-converted companion who wanted to die as a
martyr on the battlefield; (3) compares the fighters in Al-Baghuz to the companion that wanted to achieve
martyrdom; (4) references certain American and foreign leaders and confirms that the Islamic State is far from being
defeated and [the Islamic State] can recapture cities if America retreats from Iraq and Syria; and (5) praises the
[Islamic State] fighters in Al-Baghuz and speaks about the successful Islamic State guerilla campaign against the
Syrian Defense Forces (SDF) in several provinces. Abu al-Hassan al-Muhajir also mentions the Christchurch, New

 
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146. On March 19, 2019, UCE2 and UCE3 met with Moyad in a parking lot on the
north side of Indianapolis. This meeting was arranged by UCE1 and UCE2 on behalf of CHS2.
UCE2 and UCE3 were present during the February 13, 2019 desert meeting in Arizona, where
they acted as “bodyguards” for CHS2. The following exchanges took place during the March 19,
2019, meeting:

a. UCE2 tells Moyad that the deal that was reached in Arizona [for 50 fully-
automatic rifles] remained in place. However, UCE2 told Moyad that CHS2 now had
another shipping pipeline to utilize, and CHS2 is asking if Moyad can do an additional
five (5) firearms to test this new pipeline.

b. Moyad clarifies that UCE2 is talking about five (5) firearms, in addition to
the 50 agreed upon in Arizona. UCE2 confirmed it is five additional weapons, and the
five additional rifles will be going a different way. UCE2 told Moyad that the fifty rifles
agreed to in Arizona are going to go through Mexico, through UCE1’s people. UCE2
explains that there is now an opportunity to send rifles through New Jersey, and CHS2
wants the guns to get through faster. UCE2 told Moyad that the Mexico route tacks on
extra days where the brothers are waiting for “your” (Moyad’s) masterpieces, whereas
the New Jersey route will cut the timeline considerably. Moyad clarifies that the firearms
are going out of the country, not staying in the United States, and UCE2 says yes, telling
Moyad the firearms are going straight to the port and “from there gone, to brothers who
are doing amazing things as you (Moyad) know.”

c. Moyad then asks about the new shipment strategy, and asks which
countries they [the firearms] are going to, listing Libya, Iraq, and Syria. UCE2 told
Moyad that the less Moyad knows about it, the safer they are. Moyad replies that the
closer the firearms destination the better, or words to that effect, noting there are “people”
in a lot of places in Africa, including Tunisia, Somalia, and North Africa. Moyad tells
UCE2 “if you guys are going farther (with the firearms], that’s not a good strategy,” or
words to that effect. UCE2 says that the strategy is wise, and it’s going to be a lot better.

d. UCE2 further explained that with the new route, the weapons will get
there quicker, the shipping route is a direct line, and they will not have to deal with
getting the weapons through Mexico anymore. UCE2 again clarified that the 50 rifles
Moyad agreed to make during his meeting with CHS? in Arizona will still use the
Mexico route. But the 5, if Moyad chooses to make them, will go through their people, in
a straight line, and are going to get to dawla al-Islamiya*! a lot faster. UCE2 advises

 

Zealand attack, stating that what happened in New Zealand is a normal thing for crusaders to do against Muslims
and that attack should be a wake-up call for Muslims. Toward the end of the speech, Abu al-Hassan al-Muhajir
warns the Sunni tribal leaders in the Eastern Euphrates region: “Don’t let your sons become pawns in the Kurdish
nationalistic army,” which is a reference to the SDF.

41 The Arabic phrase “dawla al-Islamiya” translates to Islamic State and is an alias for ISIS.

 
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Moyad that they are spread thin, that brothers are leaving parts where “our” forces have
dwindled, so as they are coming out “we” need to re-arm them faster with the things
Moyad will make for them so they can get back in the fight.

€. Moyad asked UCE2 if he (Moyad) was to prioritize the 5 before the 50, .
and UCE2 replied “yes.” UCE2 told Moyad that the priority is the 5, and that this will be
the first movement through this channel. UCE2 also told Moyad that if the New Jersey
route is confirmed, the 50 rifles agreed to during the Arizona meeting could be shifted
through the Northeast because it was a straight shot. UCE2 advised Moyad they were
trying to cut out Mexico because CHS2 doesn’t feel comfortable with border issues and
dealing with some Mexican folks they’ve been dealing with. UCE2 reiterates that
priorities have shifted for “our” brothers who are in the fight, and they need to make sure ©
the brothers are getting armed faster.

f. Moyad asked if 5 rifles was enough for them, to which the UCE2
responded “no.” UCE2 explained again that the 5 rifles were to test the route to make
sure it works. UCE2 clarified that once Moyad finishes the first 5 and delivers them to
UCE2, Moyad will need to start on the next 5 to send either through New Jersey or
Mexico, depending on which route was available.

g. UCE2 asked Moyad if he was willing to help them in this way, and Moyad
confirmed that he was fine with the plan. Moyad advised UCE2 that he (Moyad) would
contact UCE] to see if UCE1 would agree to this new plan, and to discuss a price for the
additional five firearms. Moyad told UCE2 that UCE1 would contact UCE2 concerning
the price. When UCE2 told Moyad he (UCE2) had a number in mind for the additional
five, Moyad asks what that number was. UCE2 advised Moyad that UCE2 was thinking
about a price similar to that agreed upon in Arizona. UCE2 told Moyad he understood
that Moyad is a businessman, but for “them” (UCE2, UCE 3, and CHS2) it’s not about
the business, it’s about the goal of expanding the Caliphate [ISIS].

h. Near the end of the meeting, Moyad asked UCE2 if “they” needed help
with anything that else that Moyad could help with. UCE2 asked Moyad “in what sense”
and Moyad responded, “I mean passports,” or words to that effect. Moyad then explained
to UCE2 that Moyad could contact some people if someone needs passports. UCE2 told
Moyad that UCE2 would discuss that offer with CHS2. Moyad advised UCE2 that he
(Moyad) was trying to help. UCE2 replied that if there were things like that, besides what
Moyad was already good at, that Moyad could help with then UCE2 wants to get that

‘going. UCE2 also clarified with Moyad that he was not speaking for the entire Caliphate,
but speaking about what UCE2 knew and was a part of, and UCE2’s focus is to make
sure “they” are armed and get back into the fight as quickly as possible.

147. On or around March 19, 2019, the OCE responded to Moyad’s question about
where the “migrants” were from that needed to be trained to operate and maintain the M16 rifle.

Moyad replied to that message stating that there is no language that they collectively understand

 
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except English, so Moyad translated the steps [for the M16 rifle] to English, stating maybe it will
benefit them, Allah willing. Moyad then sent these detailed M16 rifle maintenance and operation
instructions to the OCE in English. Moyad also advised OCE that he was sending a video to
explain in detail all the pieces in the M16 rifle and he attached a You Tube link to his message.”

148. On or about March 22, 2019, the OCE replied, telling Moyad that the video link
required Internet access and the Internet was not always available [where OCE is]. OCE
‘explained that he needed something simple in a file explaining the basic things [about the M16
rifle] so that the brothers can download it on their devices and view it anytime and anywhere.
The OCE suggested that Moyad create a file, if he can, according to his experience and send it.
In response to that request, Moyad replied to the OCE with a pdf file and instructed OCE to
download the pdf file. Moyad explained that the pdf file is translated to English and contains
details of pieces, maintenance methods, and disassembly and assembly instructions for the M16
rifle. Moyad added that he also attached the explanation that he sent to OCE to summarize some
of the details in the file.”

149. Onor around March 25, 2019, Moyad sent OCE a video release by ISIS in Sinai.
The caption reads: To our brothers in the province of Sham (Syria), we say to you; remain
steadfast, you are on the path of the righteous truth-Allah willing- and remember the Almighty,
the rewards are for the righteous. Moyad says that this is a message from the monotheist brothers
in Sinai and describes the video as advice to the monotheist brothers, that there is a system they
need to focus on, which is developing an anti-aircraft weapon to shoot down their idols [planes].

150. Onor around March 27, 2019, the OCE reached out to Moyad and asked if

Moyad knew anything about satellite phones, prices, and whether they are readily available. The

 

42 This You Tube video is a graphical/animated depiction of an M16 rifle and all of its components.
43 This pdf file is a 1980s version of the U.S. Army M16 training manual and is more than 200 pages in length.

 
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OCE also asked Moyad if he knew the necessary items he will need to bring with him once he
confirms his intent to travel, or if he no longer intended to travel. Moyad replied that there are
many types of satellite phones available, but they are not cheap, and there are things that can’t be
brought for security reasons as his bags will be inspected. Moyad noted that an important point
concerning satellite phones is that they are not safe because they are equipped with GPS
programs which are difficult to block. Moyad further explained that GPS makes it easy for
anyone to track the phone. Moyad then asked OCE to provide him (Moyad) with a list of items
needed for traveling, and the OCE replied that he (OCE) would provide Moyad with a list once
Moyad had planned his travel. Moyad replied, “{t]ell me now brother, preparation needs time
and purchasing what’s needed at the same time will be difficult,” or words to that effect.

151. Onor around March 31, 2019, OCE replied to Moyad’s question from
approximately March 25, 2019, as to what type of work OCE does. The OCE also asked if
Moyad has a specific time in mind to travel. Moyad replied that he had no specific timeframe in
mind to travel, but he hoped it would be this year and after the month of Ramadan. Moyad then
asked the OCE to advise him (Moyad) on the easiest ways that the “brothers” have used in the
past to enter ISIS-occupied territory and if any were easier than Turkey. Moyad then reiterated
that he is able to enter all off the neighboring countries, and he will pick the best way to migrate.
Moyad also asked the OCE if CHS2 can assist with migration matters [to ISIS-controlled
territory], and if the OCE recommended that (Moyad) contact him (CHS2) to facilitate travel.

152. On April 1, 2019, CHS1 met with Mahde, who had recently been released from
the Lake County and Marion County (Indiana) Jails. The following exchanges took place during
that meeting:

a. CHS1 asked Mahde if he learned anything from his most recent trip to jail
and Mahde replied, “Don’t go back to jail.” CHS1 told Mahde that some people were

 
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pretty upset about his arrest, and asked if Mahde had talked to Moyad. Mahde replied that
he had spoken to Moyad and that Moyad “was pissed.” CHS1 told Mahde he thought
there was one person more pissed off than Moyad was, to which Mahde replied “UCE1.”
CHS1 replied “yes.”

b. CHS1 then asked Mahde if he (Mahde) truly understood what “we” have
going on,” and Mahde replied that he did. CHS1 asked Mahde if he (Mahde) knows
where the guns are going, and Mahde replied yes. CHS1 asked Mahde who the guns were
going to, and Mahde replied “us.” CHS1 asked Mahde, “Who’s us?” Mahde replied by
stroking his beard.4 Mahde then stated, “I don’t want to say it out loud.” CHS] told
Mahde that he (Mahde) knows who the ghost rifles are going to and Mahde can’t mess
around on this. Mahde indicated that he understood.

c. Mahde then said he wanted UCE1 to know that he (Mahde) would never
throw anyone under the bus, that his brother (Moyad) is in this, and that he (Mahde) is in
this. CHS1 says well people run their mouths. Mahde asked “what are they going to do,
put me in jail, talk or you’re going to jail?” Mahde then said there is a constitution to
protect him, the government isn’t going to go throw him (Mahde) in GITMO and water
board him until he says something. Mahde also assured CHS1 that “they” have no hint of
anything, that Mahde’s phone is clear, and Mahde takes all precautions.

d. CHS1 told Mahde that money is not his motivation for being involved in
the illegal gun deal, and CHS1 is not making any money off of the deal. Mahde refers to
Moyad as “the chef” and himself as “the businessman.” According to Mahde, Moyad told
Mahde that the gun deals were all for a bigger cause, and that money was not the
motivation. Mahde told CHS1 that Moyad would build the weapons for free, but Mahde
won’t do it for free. Toward the end of the conversation CHS1 told Mahde that he can’t
be doing anymore stupid stuff, and Mahde replied that he (Mahde) was not going to risk a
quarter of a million dollars.** Mahde also told CHS1 that he wants “it” [meaning a
successful/profitable gun building operation] more than CHS1 does.

153. Onor around April 1, 2019, Moyad contacted the OCE and told the OCE that he
(Moyad) concluded that the Arabian Peninsula or J ordan will be the areas closest to you (OCE).
Moyad then told the OCE, “Let us put our trust in Allah and begin coordination from one of the

two countries.””°

 

44 During one of the previous gun builds, Mahde stroked his beard in a similar way when referring to “Muslim
brothers.”

45 Under the terms of the deal that Moyad and UCE] negotiated with CHS2 in Phoenix, Arizona, Moyad’s and
Mahde’s cut from the sale of the fifty (50) fully-automatic rifles would be $250,000. Mahde’s knowledge of that
amount confirms that Moyad shared the details of his trip to Arizona with Mahde.

46 The FBI assesses these statements to mean that Moyad had done online research into the recent activities of ISIS-
backed fighters and determined that the best way for Moyad to enter ISIS-controlled territory was through Jordan or

 
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154. Onor around April 5, 2019, the OCE and Moyad continued their discussion about
Moyad’s travel planning. Toward the end of the conversation, Moyad asked, “Now my brother,
the important thing is which one of the two countries that I mentioned to you, [do] you advise to
cross from?”

155. Onor about April 7, 2019, the following exchanges between Moyad and the OCE
then ensued:

a. Moyad asked for more details about his travel planning. The OCE then

advised Moyad that the OCE will do what he is supposed to do and Moyad should do
what he is supposed to do. Unsatisfied with that answer, Moyad persisted, stating,

“Brother, give me more details . . . . I will not trust anyone and talk to him. Because if I
suspect anyone then Allah willing, I will cut his neck, I will slaughter him,” or words to
that effect.

b. The OCE told Moyad to slow down and asked “what is with you?” Moyad
replied, saying “Forgive me, brother, I need a clear and complete picture to continue.
Ticket is easy to obtain, Allah willing, I want more details, otherwise, forgive me brother,
I will continue on my own and Allah will facilitate things for me.”

156. Onor around April 8, 2019, the OCE and Moyad continued their discussion about
Moyad’s travel planning.

157. Between on or around April 9 and on or around April 15, 2019, Moyad and the
OCE continued to communicate, with Moyad actively seeking to further clarify and solidify the
details of the previously-discussed travel arrangements.

158. Onor about May 2, 2019, Moyad met with CHS2 in Cincinnati, Ohio, at a
Starbucks and in CHS2’s vehicle in the Starbucks parking lot. The following exchanges occurred
during this meeting:

a. CHS2 and Moyad discussed Moyad’s communications with OCE and

Moyad’s desire to travel to ISIS-controlled territory overseas via Turkey. Moyad stated

that he would only make this travel if he could meet CHS2 in Turkey and have CHS2

introduce him personally to the individual who would then escort him (Moyad) to ISIS-
controlled territory in Syria or Iraq. CHS2 advised Moyad that Moyad should go home

 

the Arabian Peninsula.

 
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and pray about the matter, and that if he still wanted to travel to ISIS-controlled territory
after this, he should then contact OCE.

b. CHS2 and Moyad also discussed the five guns that Moyad would be
building in accordance with the deal that was previously negotiated between Moyad and
UCE1 and UCE2. CHS2 asked Moyad if he understood where these guns were going,
and Moyad replied that he believed the weapons were going to “the State.” CHS2 asked

if by saying “the State” Moyad meant the Syrian Government. Moyad replied that he
definitely did not mean the Syrian Government, but that he meant the Islamic State.

c.  CHS2 advised Moyad that traveling overseas to join ISIS or building
weapons for ISIS both constitute jihad for the sake of Allah, which is the mission
statement of the Islamic State.

d. Moyad told CHS2 that his (Moyad’s) family does not know about his
plans to travel to ISIS-controlled territory, but that his father knows that he has been
building firearms, though the father does not know where the firearms are going.

159. Other conversations and evidence collected during this investigation have
corroborated that Moyad’s father and/or mother are aware of Moyad’s and Mahde’s firearms-
related purchases and activities. For example, records obtained from J.P. Morgan Chase reveal
that a debit card associated with a joint checking account held by Moyad and Mohdkear was
used to purchase firearms components, via the Internet, from Business E and Business F.*” Those
purchases began on or around August 15, 2018, and continued until on or around February 28,
2019. During this period there were approximately six (6) purchases from Business E and
Business F that totaled approximately $2566.00.

160. On the night of May 2, 2019, Moyad sent OCE a message in which Moyad
expressed his desire to travel overseas to ISIS-controlled territory. Moyad asked OCE to
coordinate details with CHS2 in order to assist Moyad with this travel.

161. Throughout this investigation the FBI has developed considerable evidence that

 

47 Business E and Business F are both headquartered outside of the Southern District of Indiana.
48 The FBI assesses that the firearms components that were purchased through this joint checking account were used
in the ghost guns that were built by Moyad and Mahde.

 

 
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Mahde and Moyad Dannon are utilizing various electronic devices and the Internet to further the
goals of the conspiracy to unlawfully manufacture firearms. For example, during the course of
the investigation Mahde and Moyad have used cellular telephones to communicate with each
other and with CHS1 concerning Mahde and/or Moyad providing firearms to CHS1 (a convicted
felon). Mahde and Moyad have also used cellular telephones and messaging applications to
communicate with CHS1 and/or UCE1 regarding the brothers’ illegal gun manufacturing
scheme. Mahde and Moyad have also used computers and/or other electronic devices and the
Internet to purchase firearms and firearms parts. Finally, based on its investigation, the FBI has
determined that Mahde and Moyad have used computers and/or other electronic devices, as well
as the IP addresses associated with the residence located at 10683 Summerwood Lane, Fishers,

_ Indiana, to facilitate and perpetrate numerous violations of federal law, including the Target
Offenses discussed above.

162. During the course of the investigation outlined above, the FBI has also
determined that Mahde and Moyad have used a number of motor vehicles to facilitate the
commission of the Target Offenses. The use of such motor vehicles has included transporting
co-conspirators to meetings and activities related to the unlawful gun manufacturing scheme
and/or transporting illegally- purchased and stolen firearms to meetings where those firearms
were unlawfully transferred to a prohibited person.

Conclusion
217. Based on the foregoing facts, I submit that probable cause exists to believe that
the Mahde Dannon and Moyad Dannon have committed numerous violations of federal law,
including violations of Title 18, United States Code Sections 922(a)(1)(A); 922(d), 922(j),

. 922(n), 2314, and 371, as well as violations of Title 26, United States Code, Section 5861. I

 
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therefore request this Court issue warrants for Mahde and Moyad Dannon, authorizing their
arrest.
SEALING ORDER REQUESTED

218. IT IS FURTHER REQUESTED that this Court issue an order sealing, until
further order of | the Court, all papers submitted in support of this application, including the
affidavit, criminal complaint, and warrants. I believe that sealing this document is necessary
because the warrant is relevant to an ongoing investigation. Premature disclosure of the contents
of this Affidavit and related documents may have a significant and negative impact on the
continuing investigation and may severely jeopardize future investigative steps that are

contemplated in this investigation.

FURTHER YOUR AFFIANT SAITH NOT

LOCAL

JorC. Graf, Special Agent
Federal Bureau of Investigdétion

Ss ~
Sworn to before me this / day of May, 2019.

 

Hon. Debra McVickef Lynch
United States Magistrate Judge
Southern District of Indiana

 
